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           Exhibit 4
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( 12) United States Patent                                                  ( 10 ) Patent No.: US 11,311,741 B2
         Phillips et al .                                                   (45) Date of Patent :  *Apr . 26 , 2022
( 54 ) SYSTEMS AND METHODS FOR ANXIETY                                 (52 ) U.S. CI .
          TREATMENT USING NEURO - EEG                                            CPC                   A61N 2/12 ( 2013.01 ) ; A61B 5/24
          SYNCHRONIZATION THERAPY                                                       ( 2021.01 ) ; A61N 2/06 (2013.01 ) ; G06Q 50/22
                                                                                               (2013.01 ) ; G16Z 99/00 (2019.02 ) ; A61B
( 71 ) Applicant: Wave Neuroscience , Inc. , Newport                                        5/4082 (2013.01 ) ; A61B 5/4094 ( 2013.01 ) ;
                     Beach , CA (US )                                                                            G16H 20/70 ( 2018.01 )
                                                                       ( 58 ) Field of Classification Search
( 72 ) Inventors: James William Phillips , Fountain                              None
                     Valley, CA ( US ); Yi Jin , Irvine, CA                      See application file for complete search history .
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( 73 ) Assignee : WAVE NEUROSCIENCE , INC . ,                                                U.S. PATENT DOCUMENTS
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( * ) Notice :       Subject to any disclaimer, the term of this                4,727,857 A             3/1988 Hoerl
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( 21 ) Appl. No .: 15 /891,721                                                                              (Continued )
(22 ) Filed :      Feb. 8 , 2018
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             Related U.S. Application Data                             Primary Examiner Etsub D Berhanu
( 63 ) Continuation of application No. 12/ 237,304 , filed on          (74 ) Attorney, Agent, or Firm — Buchalter, A Professional
         Sep. 24 , 2008 , now abandoned .                              Corporation
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                                                                       ( 57 )                            ABSTRACT
(51 ) Int. Ci.                                                         Described are methods, devices , and systems for a novel,
         A61N 2/00                  ( 2006.01 )                        inexpensive, easy to use therapy for treatment of anxiety.
         A61N 2/12                  ( 2006.01 )                        Described are methods and devices to treat anxiety that
         A61B 5/372                 ( 2021.01 )                        involves no medication . Methods and devices described
         A61N 2/06                  ( 2006.01 )                        herein use alternating magnetic fields to gently “ tune ” the
         A61B 5/24                  ( 2021.01 )                        brain and affect symptoms of anxiety.
         G06Q 50/22                 ( 2018.01 )
                              ( Continued )                                              10 Claims , 24 Drawing Sheets
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                                    Figure 9
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                      Figure 11A                                         Figure 11B
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                      Figure 11C                                         Figure 11D
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                      Figure 11 €                                            Figure 117
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                      Figure 116                                         Figure 11H
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                    Depressive Symptom Change in Responders ( N = 11 ) and
                              Nonresponders (N=5) during NEST
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                  Clinical Improvement in Depressive Symptom ( N =27 )
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     SYSTEMS AND METHODS FOR ANXIETY                              In another aspect are methods of treating a subject,
        TREATMENT USING NEURO -EEG                             comprising: ( a ) adjusting output of a magnetic field for
         SYNCHRONIZATION THERAPY                               influencing a Q - factor, a measure of frequency selectivity of
                                                               a specified EEG band, of the subject toward a pre - selected
                 RELATED APPLICATIONS                        5 or target Q - factor of the band ; and ( b ) applying said mag
                                                               netic field close to a head of the subject.
   This application is a continuation of U.S. patent applica      In another aspect are methods of treating a subject,
tion Ser. No. 12 / 237,304 , entitled " SYSTEMS AND METH- comprising: determining the Q - factor of the intrinsic fre
ODS FOR ANXIETY TREATMENT USING NEURO - EEG                          quency within the specified EEG band of the subject;
SYNCHRONIZATION THERAPY” filed Sep. 24 , 2008 , 10 comparing the Q - factor of the intrinsic frequency from step
which claims the benefit of U.S. Provisional Patent Appli-           (a ) to an average Q - factor of the intrinsic frequency of a
cation No. 60/ 975,096 , filed Sep. 25 , 2007 , and U.S. Pro-       healthy population database ; if the Q - factor of the intrinsic
visional Patent Application No. 61 /096,596 , filed Sep. 12 ,       frequency from step (a ) is higher than the average Q - factor
2008 , the contents of which are herein incorporated by           of the intrinsic frequency of the healthy population database ,
reference in their entirety.                                   15 tuning down the Q - factor of the intrinsic frequency of the
                                                                  subject by applying a magnetic field with a plurality of
          BACKGROUND OF THE INVENTION                             frequencies or with a single pre - selected frequency close to
                                                                  a head of the subject; and if the Q - factor of the intrinsic
   Mental disorders generate serious problems for the frequency from step ( a ) is lower than the average Q - factor
affected people , their families, and society. Currently, psy- 20 of the intrinsic frequency of the healthy population database,
chiatrists and neurophysiologists treat these disorders with a tuning up the Q - factor of the intrinsic frequency of the
variety of medications, many of which have significant subject by applying a magnetic field with a pre - selected
negative side effects.                                            frequency to a head of the subject.
   Repetitive Transcranial Magnetic Stimulation ( rTMS)              In another aspect are methods of treating a subject,
uses an electromagnet placed on the scalp that generates a 25 comprising: ( a ) adjusting output of a magnetic field for
series of magnetic field pulses roughly the strength of an influencing a coherence of intrinsic frequencies among
MRI scan . Some studies have shown that rTMS can reduce multiple sites in aa brain of the subject within a specified EEG
the negative symptoms of schizophrenia and depression band toward a pre - selected or target coherence value ; and ( b )
under certain circumstances . To generate low frequency applying said magnetic field close to a head of the subject
magnetic field pulses using an electromagnet such as in 30 In another aspect are methods adjusting output of a
rTMS requires high current. Over time , this high current magnetic field for influencing a coherence of intrinsic fre
results in significant heat that must be actively dissipated .
                                                           quencies among multiple sites in a brain of the subject
                                                                     within a specified EEG band toward a pre - selected or target
          SUMMARY OF THE INVENTION                         coherence value comprising: determining the coherence
                                                        35 value of the intrinsic frequencies among multiple locations
  Described are methods and systems for novel , inexpen- throughout a scalp of the subject; comparing the coherence
                                                    2

sive , easy to use therapy for a number of mental disorders.        value from step ( a ) to an average coherence value of a
Described are methods and devices to treat mental disorders         healthy population database ; if the coherence value from
that involve no medication . Methods and devices described          step ( a ) is higher than the average coherence value of the
herein gently “ tune” the brain and affect mood , focus, and 40 healthy population database , lowering the coherence value
cognition of human subjects. Methods and devices described of the subject by applying at least two asynchronous mag
herein gently “ tune” the brain and affect mood , focus, and netic fields close to a head of the subject; if the coherence
cognition of subjects.                                               value from step ( a ) is lower than the average coherence
   In one aspect are methods of treating a subject, compris- value of the healthy population database , raising the coher
ing : (a ) adjusting output of a magnetic field for influencing 45 ence value of the subject by applying at least one synchro
an intrinsic frequency of a specified EEG band of the subject nized magnetic field close to a head of the subject.
toward a pre - selected or target intrinsic frequency of the            In another aspect are methods of using a Transcranial
specified EEG band; and (b ) applying said magnetic field Magnetic Stimulation ( TMS ) device for influencing an
close to a head of the subject.                                      intrinsic frequency of a subject within a specified EEG band,
   In another aspect are methods of altering an intrinsic 50 comprising: ( a ) adjusting output of said TMS device ; ( b )
frequency of a brain of a subject within a specified EEG changing EEG frequency, Q - factor, or coherence by repeti
band, comprising: ( a ) determining the intrinsic frequency of tive firing of a magnetic field using said TMS device ; and (c )
the subject within the specified EEG band; ( b ) comparing applying said magnetic field close to a head of the subject;
the intrinsic frequency from step (a ) to an average intrinsic          In another aspect are methods of treating anxiety in a
frequency of a healthy population database ; ( c ) if the intrin- 55 subject, comprising tuning up the Q - factor of an intrinsic
sic frequency from step (a ) is higher than the average frequency of the subject by applying a magnetic field close
intrinsic frequency of the healthy population database , shift- to a head of the subject, wherein the magnetic field com
ing down the intrinsic frequency of the subject by applying prises at least one of ( a) a single pre - selected frequency ; ( b )
a specific magnetic field close to a head of the subject, a plurality of frequencies within a specified EEG band; and
wherein said specific magnetic field has a frequency lower 60 (c ) an intrinsic frequency of aa brain of the subject within a
than the intrinsic frequency of the subject; and (d) if the specified EEG band . In some embodiments, any of the
intrinsic frequency from step ( a ) is lower than the average devices described herein may be used to treat anxiety.
intrinsic frequency of the healthy population database , shift-         In some embodiments, are method of treating depression
ing up the intrinsic frequency of the subject by applying a in a subject, comprising tuning down the Q - factor of an
specific magnetic field close to a head of the subject, 65 intrinsic frequency of the subject by applying a magnetic
wherein said specific magnetic field has a frequency higher field close to a head of the subject, wherein the magnetic
than the intrinsic frequency of the subject.                         field comprises at least one of (a ) a single frequency ; (b ) a
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plurality of frequencies within a specified EEG band; and (c )     embodiments of at least one aspect described above , the
an intrinsic frequency of a brain of the subject within a pre - selected or target intrinsic frequency with the specified
specified EEG band . In some embodiments , any of the EEG band is from about 1 Hz to about 100 Hz . In some
devices described herein may be used to treat depression.          embodiments of at least one aspect described above , the
   In another aspect are methods for treating a subject, 5 pre -selected or target intrinsic frequency with the specified
comprising : (a ) adjusting output of a magnetic field for EEG band is not greater than about 50 Hz . In some embodi
influencing an EEG phase between two sites in the brain of ments of at least one aspect described above , the pre
a subject of a specified EEG frequency toward a pre - selected selected or target intrinsic frequency with the specified EEG
EEG phase of the specified EEG frequency; and ( b ) applying band is not greater than about 30 Hz . In some embodiments
said magnetic field close to a head of the subject.             10 of at least one aspect described above , the pre - selected or
   In some embodiments, the pre - selected EEG phase is target intrinsic frequency with the specified EEG band is not
lower than the EEG phase between the two sites in the brain greater than about 20 Hz . In some embodiments of at least
of the subject. In some embodiments, the pre - selected EEG one aspect described above , the pre -selected or target intrin
phase is any EEG phase lower than the EEG phase between sic frequency with the specified EEG band is not greater than
the two sites in the brain of the subject. In some embodi- 15 about 10 Hz . In some embodiments of at least one aspect
ments, the pre - selected EEG phase is higher than the EEG described above , the pre - selected or target intrinsic fre
phase between the two sites in the brain of the subject. In quency with the specified EEG band is greater than about 3
some embodiments, the pre -selected EEG phase is any EEG Hz . In some embodiments of at least one aspect described
phase higher than the EEG phase between the two sites in above , the pre - selected or target intrinsic frequency with the
the brain of the subject. In some embodiments, the pre- 20 specified EEG band is greater than about 1 Hz . In some
selected EEG phase is an EEG phase of a population of embodiments , of at least one aspect described above , the
people . The population of people may be a set of people pre - selected or target intrinsic frequency with the specified
having a particular trait, characteristic , ability, or feature. EEG band is up to about 25 Hz . As used herein , the term
The population may be a healthy population of people. The “ about ” when referring to a frequency can mean variations
population of people may be a set of people not having a 25 of 0.1 Hz to 0.2 Hz , 0.1 Hz to 0.5 Hz , 0.5 Hz to 1 Hz , or 1
particular disorder, such as anxiety, depression , or other Hz to 5 Hz . In some embodiments, applying of the magnetic
disorders mentioned herein . In some embodiments, the field is to the motor cortex of the subject.
methods comprise measuring EEG data of two sites in the         In some embodiments, the pre -selected and /or target
brain of the subject, and calculating the EEG phase between intrinsic frequency is chosen from a plurality of intrinsic
the two sites in the brain of a subject. The specified EEG 30 frequencies in the specified EEG band . In some embodi
frequency may be an intrinsic frequency as described herein . ments the pre - selected and / or target intrinsic frequency is
The specified EEG frequency may be a pre - selected fre- chosen from a plurality of intrinsic frequencies across a
quency as described herein . The pre -selected frequency may plurality of EEG bands . In some embodiments the specified
be an average intrinsic frequency of a healthy population EEG band is the Alpha band . In some embodiments the
database within a specified EEG band .                      35 specified EEG band is the Beta band .
  In another aspect are methods for influencing an EEG            In some embodiments of at least one aspect described
phase of a specified EEG frequency between multiple loca- above , the methods further comprise the step of measuring
tions of a brain of a subject, comprising: ( a) determining the EEG data of the subject before the applying step . In some
EEG phase the between at least two locations measured on embodiments of at least one aspect described above , said
the head of the subject; ( b ) comparing the EEG phase from 40 higher frequency is not greater than about 50 Hz . In some
step ( a) to an average EEG phase of a healthy population ; embodiments of at least one aspect described above , said
and (c ) applying a magnetic field close to a head of the higher frequency is not greater than about 30 Hz .
subject wherein applying the magnetic field influences the           In some embodiments of at least one aspect described
determined EEG phase toward the average EEG phase of a above, the varying frequencies ( e.g. hopping frequencies )
healthy population .                                           45 are moving average frequencies based on a pre -determined
    In another aspect are methods for using a Transcranial frequency around an intrinsic frequency within a predeter
Magnetic Stimulation (TMS ) device for influencing an EEG mined frequency range. In some embodiments, the varying
phase of a subject of a specified EEG frequency, comprising: frequencies are randomly selected within a predetermined
( a) adjusting output of said TMS device ; (b ) changing the frequency range. In some embodiments of at least one aspect
EEG phase by repetitive firing of at least one magnetic field 50 described above, the varying frequencies are moving aver
using said TMS device ; and ( c ) applying said magnetic field age frequencies within a specified EEG band of a healthy
close to a head of the subject.                                   population database . Those moving average frequencies can
    In some embodiments, the magnetic field results from a change from an initial frequency to a target frequency within
first magnetic source and a second magnetic source . In some a specific amount of time . In some embodiments of at least
embodiments, the first magnetic source and the second 55 one aspect described above, the varying frequencies are
magnetic source are out of phase relative to each other. In frequencies hopping around within a pre-determined fre
some embodiments, the amount that the first magnetic quency range . In some embodiments of at least one aspect
source and the second magnetic source are out of phase described above , the varying frequencies are frequencies
relative to each other is called the magnetic phase .             hopping around an intrinsic frequency within a specified
    In some embodiments, the methods described are with the 60 EEG band of a healthy population database . In some
proviso that the methods are not used to treat schizophrenia. embodiments of at least one aspect described above , the
    In some embodiments of at least one aspect described pre - selected or target frequency is an average intrinsic
above , the step of applying the magnetic field is for a frequency of aa healthy population database within a speci
pre -determined cumulative treatment time . In some embodi- fied EEG band . In some embodiments of at least one aspect
ments of at least one aspect described above , the pre- 65 described above , the pre - selected or target frequency is an
selected or target intrinsic frequency with the specified EEG intrinsic frequency of a brain of the subject within a speci
band is from about 0.5 Hz to about 100 Hz . In some                fied EEG band .
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  In some embodiments of at least one aspect described             thereof. In some embodiments of at least one aspect
above , the methods further comprise the step of measuring described above , the method improves symptoms of fibro
EEG data of the subject after the applying step . In some myalgia. In some embodiments of at least one aspect
embodiments , further comprising the steps of:                     described above , the method halts the onset of a seizure . In
adjusting frequency of said magnetic field based on the EEG 5 some embodiments of at least one aspect described above ,
data of the subject; and repeating the applying step with an the method prevents the onset of a seizure . In some embodi
adjusted frequency.                                                ments of at least one aspect described above, the method
   In some embodiments of at least one aspect described improves a characteristic selected from the group consisting
above , the applying of the magnetic field is continuous, in of peripheral visual response , attention span , immediate
that it does not consist of discrete pulses separated by 10 reaction time ( IRT), movement time (MT) , simple percep
significant sections in which no magnetic field is applied . In tual reaction time ( SPR) , conflict perceptual reaction time
some embodiments of at least one aspect described above, (CPR) , and any combination thereof. In some embodiments
the magnetic field is continuously applied. A magnetic field of at least one aspect described above , the method provides
that is continuously applied may alternate between a positive an improvement as measured using a rating scale selected
and negative field and include one or more neutral field ( s ), 15 from the group consisting of HAMA , HAMD , PANSS ,
or alternate between a positive field and a neutral field , or MADRS, BARS , SAS , and any combination thereof. In
alternate between a negative field and a neutral field , or some embodiments of at least one aspect described above ,
some other combination of magnetic fields. It is continuous the method provides an improvement as measured using the
in the sense that it has a repetitive pattern (waveform ) of Unified Parkinson's Rating Scale . In some embodiments of
charged fields (whether positive , negative , or a combination 20 at least one aspect described above , the method provides an
thereof) and uncharged fields. In some embodiments of at improvement as measured using a modified Unified Parkin
least one aspect described above , the applying of the mag- son's Rating Scale . In some embodiments of at least one
netic field applies the magnetic field to a diffused area in a aspect described above , the method uses a Permanent Mag
brain of the subject.                                              neto -EEG Resonant Therapy (pMERT) device ( alternatively
   In some embodiments of at least one aspect described 25 called a Neuro -EEG Synchronization Therapy (NEST)
above , the magnetic field is generated by movement of at device ). In some embodiments of at least one aspect
least one permanent magnet. In some embodiments, said described above , the method uses a device as described in
movement comprises rotation of at least one said permanent any of claims 44-88 , and /or as described herein . In some
magnet. In some embodiments, said movement comprises embodiments of at least one aspect described above , the
linear motion of at least one said permanent magnet. In some 30 method does not use a Transcranial Magnetic Stimulation
embodiments, said movement comprises curvilinear motion (TMS) device.
of at least one said permanent magnet. In some embodi-                In another aspect are devices comprising,
ments, said movement comprises least one of rotational                ( a) at least one permanent magnet; and
motion , linear motion , and swing motion . In some embodi-           (b ) a subunit coupled to the magnet;
ments, the strength of the at least one permanent magnetic 35 wherein the subunit enables movement of at least one said
is from about 10 Gauss to about 4 Tesla . In some embodi- magnet at a frequency between about 0.5 Hz and about 100
ments, the distance between the at least one permanent Hz .
magnet and the subject is from about 0 inches to about 12       In another aspect are devices comprising,
inches , from about 1/32 inches to about 12 inches, from about  ( a) at least one permanent magnet; and
1/16 inches to about 5 inches, or from about 1 inch to about 40 (b ) a subunit coupled to the magnet;
5 inches . As used herein , the term “ about” when referring to wherein the subunit enables movement of at least one said
distance between the at least one permanent magnet and the magnet at a frequency between about 2 Hz and about 20 Hz .
subject can mean variations of 1/64 inch, 1/32 inch , 1/16 inch ,   In another aspect are devices comprising a means for
1/8 inch, 1/4 inch , 1/3 inch , 1/2 inch , or 1 inch .            applying a magnetic field to a head of a subject; whereby the
    In some embodiments where the step of applying the 45 means for applying the magnetic field is capable of influ
magnetic field is for a pre -determined cumulative treatment encing an intrinsic frequency of a brain of the subject within
time , said pre -determined cumulative treatment time is at a specified EEG band .
least 5 min . In some embodiments where the step of apply-          In another aspect are devices comprising a means for
ing the magnetic field is for a pre -determined cumulative applying a magnetic field to a head of a subject; whereby the
treatment time , said pre - determined cumulative treatment 50 means for applying the magnetic field is capable of influ
time is from about 5 min to about two hours .                     encing a Q - factor of an intrinsic frequency of a brain of the
    In some embodiments of at least one aspect described subject within a specified EEG band .
above , the methods further comprise repeating the applying         In another aspect are devices comprising a means for
step after an interval of treatment. In some embodiments, the applying a magnetic field to aa head of a subject; whereby the
interval of treatment is from about 6 hours to about 14 days . 55 means for applying the magnetic field is capable of influ
    In some embodiments of at least one aspect described encing a coherence of intrinsic frequencies among multiple
above , the method improves an indication selected from the sites in a brain of the subject within a specified EEG band .
group consisting of replacement for meditation , quick nap ,        In some embodiments of at least one aspect described
stress release , attention span, comprehension , memory, low- above , the subunit comprises a rotating mechanism . In some
ered blood pressure, increased libido , sports performance, 60 embodiments , said rotating mechanism comprises:
academic performance, and any combination thereof. In               ( a) a motor ;
some embodiments of at least one aspect described above,            (b ) a power source capable of powering the motor ; and
the method improves a mental disorder selected from the             ( c ) a rotating element coupled to the motor and coupled to
group consisting of depression, bipolar, anxiety, obsessive              the magnet.
compulsive , seizure, Parkinson's disease , ADHD , autism , 65 In some embodiments of at least one aspect described
substance abuse , head injury, Alzheimer's disease , eating above , said device comprises at least one permanent magnet.
disorder, sleep disorder, tinnitus, and any combination In some embodiments of at least one aspect described above ,
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the strength of the at least one permanent magnet is from wherein said information comprises at least one of items
about 10 Gauss to about 4 Tesla . In some embodiments of at     listed below :
least one aspect described above , the magnetic field is an        ( a) at least one intrinsic frequency;
alternating magnetic field .                                       (b ) Q - factor of the at least one intrinsic frequency;
   In some embodiments of at least one aspect described 5 ( c ) a coherence value of intrinsic frequencies ;
above , the magnetic field is generated by movement of at          ( d) an EEG phase ; and
least one permanent magnet. In some embodiments, the               (e) any combination thereof.
movement of the at least one said magnet is at a frequency thatIn uploads
                                                                       some embodiments , the devices further comprise logic
                                                                                 said information through at least one of an
between about 0.5 Hz and about 100 Hz . In some embodi
ments , the movement of the at least one said magnet is at a 10 internet   line and a telephone line to an EEG data analysis
                                                                service capable of storing said information . In some embodi
frequency between about 2 Hz and about 20 Hz .                  ments   , said EEG data analysis service is capable of associ
   In some embodiments of at least one aspect described ating the            said information with an identification associated
above , said movement comprises rotation of at least one said with the subject     .
permanent magnet. In some embodiments of at least one 15 In some embodiments of at least one aspect described
aspect described above, said movement comprises linear above , the devices further comprise logic that uploads EEG
motion of at least one said permanent magnet. In some data collected from the subject to an EEG data analysis
embodiments of at least one aspect described above , said service, wherein the EEG data analysis service is capable of
movement comprises swing motion of at least one said validating information uploaded from the device , wherein
permanent magnet. In some embodiments, said movement 20 said information comprises at least one of items listed
comprises at least one of rotational motion , linear motion , below :
and swing motion .                                              ( a) at least one intrinsic frequency ;
   In some embodiments of at least one aspect described         (b ) Q - factor of the at least one intrinsic frequency;
above , said movement generates an alternating magnetic         ( c ) a coherence value of intrinsic frequencies;
field . In some embodiments of at least one aspect described 25 ( d) an EEG phase ; and
above , the magnetic field is continuously applied . In some          (e) any combination thereof.
embodiments of at least one aspect described above , the              In some embodiments, said information comprises at least
magnetic field covers a diffused area in a brain of a subject. two of the listed items. In some embodiments of at least one
In some embodiments of at least one aspect described above, aspect described above , further comprising logic that down
the device is a Permanent Magneto - EEG Resonant Therapy 30 loads a treatment dosage quota. In some embodiments, the
(pMERT) device. In some embodiments of at least one treatment dosage quota is chosen by a user treating the
aspect described above , the device is a Neuro -EEG Syn- subject based on a diagnosis of the subject. In some embodi
chronization Therapy (NEST ) device . As used herein , the ments, the treatment dosage quota is chosen by a user who
terms Neuro - EEG Synchronization Therapy (NEST) device is charged for requesting a download of a cumulative
and Permanent Magneto -EEG Resonant Therapy (pMERT) 35 treatment time based on a diagnosis of the subject. In some
device may be used interchangeably.                                 embodiments, the user is charged by a billing service before,
   In some embodiments of at least one aspect described during, or after the download of the dosage quota .
above , the devices further comprise logic that controls the          In some embodiments of at least one aspect described
frequency to be any frequency between about 2 and about 20 above , the devices further comprise logic that uploads a
Hz in increments of about 0.1 Hz . In some embodiments of 40 subject's EEG data through at least one of an internet line
at least one aspect described above , the devices further and a phone line to an EEG data analysis service . In some
comprise logic that controls the frequency to be any fre- embodiments of at least one aspect described above , the
quency between about 2 and about 50 Hz in increments of devices further comprise logic that records usage informa
about 0.1 Hz . In some embodiments of at least one aspect tion for using the device . In some embodiments, the device
described above, the devices further comprise logic that 45 further comprises logic that ceases to deliver treatment after
automatically changes the frequency in response to EEG a treatment dosage quota is depleted. In some embodiments,
readings of a subject before and /or during treatment. In some the billing service is a vendor of the device . In some
embodiments of at least one aspect described above , the embodiments of at least one aspect described above , the
devices further comprise logic that allows a user to set devices further comprise logic that allows a user to establish
duration of a treatment before said treatment. In some 50 a user account.
embodiments, the user may be , for non -limiting example, a           In some embodiments, the device comprises at least two
patient, a therapist, a psychiatrist, a psychologist , a neurolo- permanent magnets. In some embodiments , the device com
gist , a family doctor, a general practitioner, a another medi- prises a helmet to be used for a subject's head . In some
cal professional, or a person treating a patient. In some embodiments of at least one aspect described above , the
embodiments, the user is not a patient.                          55 device comprises a communication subunit for coupling to
   In some embodiments of at least one aspect described an internet line. In some embodiments of at least one aspect
above , the devices comprise a white noise generator.               described above , the device comprises a communication
   In some embodiments, the devices further comprise a subunit for coupling to a phone line . In some embodiments ,
coupling to at least one of an internet line and a phone line . the device comprises a memory subunit for storing infor
In some embodiments, at least a portion of the coupling to 60 mation during a treatment.
the internet line or to the phone line is wireless . The device       In another aspect are methods for ordering a therapeutic
may further comprise a smart card for storing and transfer- dosage quota through internet, comprising,
ring information .                                                    ( a) receiving a request from a user to access a user account
   In some embodiments of at least one aspect described                   through internet for ordering the therapeutic dosage
above , the devices further comprise logic that calculates 65             quota ;
information from EEG data collected from the subject                  (b ) allowing the user to select at least one desired thera
within a specified EEG band,                                              peutic dosage quota ; and
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   ( c ) allowing the downloading of a therapeutic dosage                In another aspect are methods for administration of treat
        quota into a device comprising a means for applying a ment of subjects, comprising,
        magnetic field to a head of a subject.                           ( a) storing data in aa device of an individual subject during
   The user may be allowed, in some embodiments, to                           treatment using the device, wherein the device com
download the therapeutic dosage quota. In some embodi- 5                      prises a means for applying a magnetic field to a head
ment, the methods further comprise the step of establishing                   of the subject;
a user account based on a request from a user for ordering               ( b )  retrieving the data of said individual subject from said
a therapeutic dosage quota.                                                   device  ; and
   In another aspect are methods for uploading EEG data                  ( c )   updating   a database for the subject with the data ,
associated with a subject through internet, comprising, 10                    through   at least one of an internet line and a phone line .
   (a ) creating a database for storing a user account associ            In    some  embodiments    , said data of said individual subject
        ated with a user;                                             comprises      at  least one of  EEG data of the subject, at least
   (b ) storing the user account in the database ,
   (c ) receiving a request from the user to access the user one             intrinsic frequency within a specified EEG band of the
        account;                                                   15 subject, Q - factor of the intrinsic frequency of the subject, a
   (d) allowing said EEG data to be recorded into a device coherence value of intrinsic frequencies of the subject, an
        comprising a means for applying a magnetic field to a EEG phase of a specified EEG frequency of the subject,
        head of the subject;                                          treatment information of the subject, and device usage
   (e ) determining from said EEG data at least one of an information for the subject. In some embodiments, the
       intrinsic frequency within a specified EEG band, Q - fac- 20 retrieving and updating steps occur upon the subject's visit
        tor of the intrinsic frequency, an EEG phase , and a to a psychiatrist, a therapist, a treatment provider, and / or
        coherence value of intrinsic frequencies ; and                another type of medical professional. In some embodiments ,
   ( f) allowing the uploading of at least one of the EEG data, the retrieving and updating steps occur prior to a subject's
        the intrinsic frequency within a specified EEG band , visit to a psychiatrist, a therapist, a treatment provider,
        the Q - factor of the intrinsic frequency, the EEG phase , 25 and / or another type of medical professional. In some
        the coherence value of intrinsic frequencies, and any embodiments, the retrieving and updating steps occur fol
        combination thereof.                                          lowing a subject's visit to a psychiatrist, a therapist, a
   In some embodiments, allowing the user to upload may treatment provider, and / or another type of medical profes
include allowing the user to move data from a device as sional.
described herein to a database . The method may comprise 30 In some embodiments of at least one aspect described
receiving a request from the user to access the user account above , the methods or devices use a Transcranial Magnetic
through at least one of an internet line or a phone line for Stimulation ( TMS ) device .
access          said database . The method may comprise allowing         Provided herein is a method comprising adjusting an
the user to upload at least one of an intrinsic frequency
within a specified EEG band, Q - factor of the intrinsic 35 output current of an electric alternating current source for
frequency, an EEG phase, and aa coherence value of intrinsic influencing an intrinsic frequency of an EEG band of a
frequencies . The data may include at least one of the EEG subject toward a target frequency of the EEG band; and
data , an intrinsic frequency within a specified EEG band, applying said output current across a head of the subject.
Q - factor of the intrinsic frequency, a coherence value of              In some embodiments, the step of adjusting the output
intrinsic frequencies, or any combination thereof.                 40 current comprises setting the output current to a frequency
   In some embodiments of at least one aspect described that is lower than the intrinsic frequency of the subject.
above , the device is any device of claims 44-88 . In some               In some embodiments, the step of adjusting the output
embodiments of at least one aspect described above , the user current comprises setting the output current to a frequency
account comprises
              ?                                                       that is higher than the intrinsic frequency of the subject.
   (a ) user information ;                                         45    In some embodiments, the step of adjusting the output
   ( b ) user access information ; and                                current comprises setting the output current to the target
   (c ) based on each subject and each therapeutic dosage frequency.
        quota administered to each subject, fields for storing at        Provided herein is a method comprising determining the
        least one of                                                  intrinsic frequency of the EEG band of the subject; and
        ( 1 ) EEG data of the subject,                             50 comparing the intrinsic frequency to the target frequency of
        (2 ) intrinsic frequency within a specified EEG band of the EEG band, wherein the target frequency is an average
            the subject,                                              intrinsic frequency of the EEG band of a healthy population
        (3 ) Q - factor of the intrinsic frequency of the subject     of people , wherein if the intrinsic frequency is higher than
        (4 ) an EEG phase of a specified EEG frequency of the the target frequency, the step of adjusting the output current
             subject,                                              55 comprises setting the output current to a frequency that is
        ( 5 ) a coherence value of intrinsic frequencies of the lower than the intrinsic frequency of the subject, and if the
             subject,                                                 intrinsic frequency is lower than the target frequency, the
        ( 6 ) treatment information of the subject, and               step of adjusting the output current comprises setting the
        (7 ) device usage information for the subject.                output current to a frequency that is higher than the intrinsic
   In some embodiments, the user information excludes 60 frequency of the subject.
identifying information (e.g. user names ).                              Provided herein is a method comprising adjusting an
   In some embodiments of at least one aspect described output current of an electric alternating current source for
above , the methods further comprise the step of charging at influencing a Q - factor of an intrinsic frequency of an EEG
least one of the user, the subject, and an insurance company band of a subject toward a target Q - factor; and applying said
associated with the subject a fee for use of the device based 65 output current across a head of the subject.
on the dosage quota ordered in at least one of the user                  In some embodiments, the step of adjusting the output
account and the device.                                               current comprises varying a frequency of the output current.
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  In some embodiments, the step of adjusting the output             second electrode. In some embodiments, determining the
current comprises setting the output current to a frequency         intrinsic frequency may comprise removing the reference
that is higher than the intrinsic frequency of the subject.         signal detected by the second electrode from the electrical
   In some embodiments, the step of adjusting the output brain activity detected by the first electrode . The method or
current comprises setting the output current to a frequency 5 methods may further comprise determining the Q - factor of
that is lower than the intrinsic frequency of the subject.    an intrinsic frequency of the specified EEG band from the
   In some embodiments , the step of adjusting the output electrical brain activity detected by the first electrode and the
current comprises setting the output current to the target reference signal detected by the second electrode. In some
frequency.                                                     embodiments, determining the Q - factor of an intrinsic fre
   In some embodiments, the method further comprises 10 quency of the specified EEG band comprises ascertaining
determining the Q - factor of the intrinsic frequency of the the Q - factor from the electrical brain activity detected by the
EEG band of the subject; and comparing the Q - factor to the first electrode and the reference signal detected by the
target Q - factor, wherein the target Q - factor is an average second electrode .
Q - factor of the intrinsic frequencies of the EEG band of a          In some embodiments of the methods described herein ,
healthy population of people , wherein if the Q - factor of the 15 the method or methods may comprise locating a first elec
intrinsic frequency is higher than the target Q - factor, the step trode operable to detect electrical brain activity on the
of adjusting the output current comprises varying a fre- subject in at least a portion of the ear canal of the subject.
quency of the output current, and if the Q - factor of the          The method or methods may further comprise locating a
intrinsic frequency is lower than the target Q - factor, the step   second electrode operable to detect a reference signal on the
of adjusting the output current comprises setting the output 20 subject. The method or methods may further comprise
current to a frequency that is the intrinsic frequency of the determining the intrinsic frequency from the electrical brain
subject .                                                       activity detected by the first electrode and the reference
   In some embodiments, influencing an intrinsic frequency signal detected by the second electrode.
may include influencing harmonics of the pre - selected            In some embodiments , a device as described herein is
intrinsic frequency of the specified EEG band . In some 25 operable to influence an EEG phase between two sites in the
embodiments, the pre -selected intrinsic frequency is a har- brain of a subject of a specified EEG frequency. The device
monic of the peak intrinsic frequency of a specified EEG may comprise a second permanent magnet, wherein the
band . In some embodiments, influencing the pre - selected subunit is coupled to the second magnet, and wherein the
intrinsic frequency includes applying harmonic frequencies subunit enables movement of the second magnet at a fre
of the pre -selected intrinsic frequency. In some embodi- 30 quency between about 0.5 Hz and about 100 Hz . The subunit
ments, the varying frequencies comprise harmonic frequen- may enable movement of the second magnet at a frequency
cies of a single frequency. The single frequency may com-           between about 2 Hz and about 20 Hz . The first permanent
prise the pre -selected intrinsic frequency.                        magnet may have a first rotational orientation relative to a
  In some embodiments, a device as described herein is              treatment surface of the device and the second permanent
operable to influence an intrinsic frequency of the brain of 35 magnet may have a second rotational orientation relative to
a subject within a specified EEG band. A device as described the treatment surface of the device . The device may be
herein may be operable to influence a Q - factor of an intrinsic operable to move the first permanent magnet at the same
frequency of the brain of aa subject within a specified EEG frequency as the second permanent magnet. The first rota
band . A device as described herein may be operable to tional orientation relative to a first portion of a treatment
influence a coherence of intrinsic frequencies among mul- 40 surface of the device may be between at least about O
tiple sites in the brain of a subject within a specified EEG degrees and about 360 degrees different from the second
band .                                                            rotational orientation relative to a second portion of the
   In some embodiments, a device as described herein fur- treatment surface of the device . The first rotational orienta
ther comprises a first electrode operable to detect electrical tion relative to a first portion of a treatment surface of the
brain activity ; and a second electrode operable to detect a 45 device may be at least one of: between at least about 0
reference signal , wherein the first electrode is located on the degrees and about 180 degrees, between at least about 0
subject in at least one of: an area of low electrical resistivity degrees and about 90 degrees, between at least about 0
on a subject, and an area with substantially no electrical degrees and about 45 degrees, between at least about 0
impulse interference on a subject, and wherein the second degrees and about 30 degrees, between at least about 0
electrode is located on the subject. In some embodiments, a 50 degrees and about 15 degrees, between at least about 0
device as described herein further comprises a first electrode degrees and about 10 degrees, at least about 5 degrees, at
operable to detect electrical brain activity ; and a second least about 10 degrees , at least about 15 degrees, at least
electrode operable to detect a reference signal, wherein the about 30 degrees, at least about 45 degrees, at least about 60
first electrode is located on the subject in at least a portion degrees, at least about 90 degrees, at least about 120 degrees,
of the ear canal of the subject, and wherein the second 55 at least about 180 degrees, at least about 240 degrees, and at
electrode is located on the subject.                              least about 270 degrees different from the second rotational
   In some embodiments of the methods described herein , orientation relative to a second portion of the treatment
the method or methods may comprise locating a first elec- surface of the device . The specified EEG frequency may be
trode operable to detect electrical brain activity on the an intrinsic frequency as described herein . The specified
subject in at least one of an area of low electrical resistivity 60 EEG frequency may be a pre - selected frequency as
on a subject and an area with substantially no electrical           described herein . The pre - selected frequency may be an
impulse interference on a subject. The method or methods            average intrinsic frequency of a healthy population database
may further comprise locating a second electrode operable within a specified EEG band .
to detect a reference signal on the subject. The method or     In some embodiments, a magnetic field results from aa first
methods may further comprise determining the intrinsic 65 magnetic source and a second magnetic source . In some
frequency from the electrical brain activity detected by the embodiments, the first magnetic source and the second
first electrode and the reference signal detected by the magnetic source are out of phase relative to each other. In
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some embodiments , the amount that the first magnetic same extent as if each individual publication or patent
source and the second magnetic source are out of phase application was specifically and individually indicated to be
relative to each other is called the magnetic phase .         incorporated by reference .
   In some embodiments, the first portion of the treatment 5
surface is the portion of the treatment surface approximately        BRIEF DESCRIPTION OF THE DRAWINGS
closest to the first permanent magnet, and wherein the
second portion of the treatment surface is the portion of the    A better understanding of the features and advantages of
treatment surface approximately closest to the second per- the systems and methods provided will be obtained by
manent magnet. In some embodiments, the first portion of 10 reference to the following detailed description that sets forth
the treatment surface is the portion of the treatment surface illustrative embodiments and the accompanying drawings of
closest to the first permanent magnet that is intended to be        which :
approximately tangential to the head of the subject nearest            FIG . 1 shows an exemplary device in which the magnet
that treatment surface , and wherein the second portion of the      rotates so that the plane of rotation is perpendicular to the
treatment surface is the portion of the treatment surface 15 surface of the scalp .
approximately closest to the second permanent magnet that              FIG . 2 shows an exemplary device in which a horseshoe
is intended to be approximately tangential to the head of the magnet is positioned such that the plane of rotation is
subject nearest that treatment surface .                            parallel to the surface of the scalp .
   In some embodiments of the devices disclosed herein , the           FIG . 3 shows an exemplary device which two bar magnets
difference between the first rotational orientation and the 20 are rotated synchronously to provide a more uniform phase
second rotational orientation results in a magnetic phase for the magnetic field in the brain .
when the first permanent magnet is moved at the same                   FIG . 4 shows an exemplary device in which the magnet
frequency as the second permanent magnet . The magnetic rotates so that the plane of rotation is perpendicular to the
phase of the device may be operable to influence an EEG surface of the scalp and a pair of electrodes is used to record
phase between a first site and a second site in the brain of a 25 the EEG of the patient.
subject within a specified EEG band . The first site generally         FIG . 5 shows a sample EEG segment for a subject before
aligns with the first permanent magnet, and the second site therapy is delivered . The block on the left shows a time
generally aligns with the second permanent magnet of the series EEG while the subject is sitting at rest with eyes
device.                                                             closed . The block in the center shows the energy across the
   Provided herein is aa device comprising,                      30 frequency spectrum for the sampled EEG . The vertical line
   (a ) a means for applying a first magnetic field to aa head of drawn through the peaks is at 9.1 Hz , the subject's intrinsic
       a subject; and                                               alpha frequency. The circle at the right shows the distribu
   ( b ) a means for applying a second magnetic field to a head tion of EEG energy the intrinsic alpha frequency through
        of a subject;                                               out the scalp , looking down on the top of the subject's head .
   whereby the means for applying the first magnetic field 35 In the circle representation, the majority of the EEG energy
and the means for applying the second magnetic field are at the alpha frequency is concentrated at the back of the
capable of influencing an EEG phase between at least two brain .
sites in aa brain of the subject of a specified EEG frequency.         FIG . 6 is similar to FIG . 5 , except the EEG was sampled
   The magnetic fields ( first magnetic field , and second immediately following therapy. In this, it can be seen that the
magnetic field ) may be of the same frequency , but out of 40 energy associated with the intrinsic alpha frequency has
phase with each other. Additional magnetic fields may be increased significantly. From the circle representation on the
provided by additional means for applying such magnetic right, it can be seen that the distribution of energy at the
fields. These too may be out of phase with each other, or with intrinsic alpha frequency throughout the head is more uni
any of the magnetic fields. Nevertheless, the magnetic fields form , though the majority of energy is still concentrated at
in some embodiments may have the same frequencies. The 45 the back of the brain .
devices may be a Permanent Magneto -EEG Resonant                  FIG . 7 shows an exemplary embodiment of the pMERT or
Therapy (PMERT) ( i.e. a Neuro -EEG Synchronization NEST device . In this embodiment, a button EEG electrode
Therapy NEST device ) as described herein . The specified           is located on the concave surface of the device and a second
EEG frequency may be an intrinsic frequency as described            reference electrode extends via a wire from the side of the
herein. The specified EEG frequency may be a pre - selected 50 device. The display and control buttons are located on top of
frequency as described herein . The pre - selected frequency the device to provide information and allow the user to
may be an average intrinsic frequency of a healthy popula- adjust parameters and enter patient data. A USB port is
tion database within aaspecified EEG band .                    located at the top rear of the device, to allow it to be
   In some aspects , is a device for use in treating a subject, connected via a USB cable to a PC , allowing uploading of
                                                                              a
comprising : a Transcranial Magnetic Stimulation (TMS ) 55 data and downloading of a dosage quota .
device ; whereby the means for applying the magnetic field            FIG . 8 shows the pMERT or NEST device from FIG . 7 in
is capable of influencing ( a) an intrinsic frequency of a brain which a subject is lying with the head against the concave
of the subject within a specified EEG band; ( b ) a Q - factor of surface . At least one moving magnet is unseen inside the
an intrinsic frequency of a brain of the subject within a pMERT or NEST device in order to deliver therapy to the
specified EEG band; (c) a coherence of intrinsic frequencies 60 subject. The subject's head is pressed against the button
among multiple sites in a brain of the subject within a EEG electrode, with the second electrode attached to the
specified EEG band ; or (d) a combination thereof.                  subject's right ear.
                                                                       FIG . 9 shows an alternate angle of the subject receiving
           INCORPORATION BY REFERENCE                               therapy from the PMERT or NEST device as described in
                                                                 65 FIG . 8 .
   All publications and patent applications mentioned in this          FIG . 10A - 10G show some exemplary embodiments for
specification are herein incorporated by reference to the various movements of at least one permanent magnet.
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  FIGS . 11A through 11K show additional exemplary                  FIG . 28 shows an example embodiment of a NEST device
embodiments for various movements of at least one perma-            applied to a subject, wherein the NEST device has three
nent magnet.                                                     diametrically magnetized cylindrical magnets rotating about
   FIG . 12 shows an example of the Q - factor as used in this 5 their cylinder axes having a magnetic phase between at least
invention . The figure shows a sample graph of the frequency two of the magnets that is not zero .
distribution of the energy of an EEG signal. It can be seen         FIG . 29 shows the magnetic field strengths of two mag
that a frequency range, Af can be defined as the frequency nets moving at the same frequency at the same time , but
bandwidth for which the energy is above one - half the peak having a magnetic phase relative to one another ( out of
energy. The frequency f, is defined as the intrinsic frequency 10 phase relative to each other ).
                                                                    FIG . 30 shows a theoretical EEG electrode readings
in the specified band . The Q - factor is defined as the ratio of measured at two locations on a subject's head within a single
f / Af. As can be seen, when AF decreases for a given fo, the EEG band when the two locations are exhibiting similar (or
Q - factor will increase . This can occur when the peak energy
Emax of the signal increases or when the bandwidth of the the
  ??
                                                                    other
                                                                         same) frequency, but are out of phase relative to each
                                                                           , i.e. displaying an EEG phase .
EEG signal decreases.                                            15    FIG   . 31 is a comparison of change in the HAMD score of
   FIG . 13 shows an example embodiment of a diametrically Responders               versus Non -Responders.
magnetized cylindrical magnet for use in a NEST device .               FIG . 32 is a comparison of the change in HAMD scores
   FIG . 14 shows an example embodiment of a NEST device Subjects receiving NEST therapy versus Subjects receiving
having a diametrically magnetized cylindrical magnet rotat- SHAM (i.e. control) therapy.
ing about its cylinder axis and applied to a subject.            20    FIG . 33 shows the change in HAMA score of two patients
   FIG . 15 shows an example embodiment of a NEST device over a period of three weeks .
having two diametrically magnetized cylindrical magnets
rotating about their cylinder axes and applied to a subject.                      DETAILED DESCRIPTION OF THE
   FIG . 16 shows an example embodiment of a NEST device                                      INVENTION
having three diametrically magnetized cylindrical magnets 25
rotating about their cylinder axes and applied to a subject.           While certain embodiments have been provided and
   FIG . 17 shows an example embodiment of aa NEST device described herein , it will be readily apparent to those skilled
having three diametrically magnetized cylindrical magnets in the art that such embodiments are provided by way of
configured to rotate about their cylinder axes .                    example only. It should be understood that various alterna
   FIG . 18 shows an exploded view of the example embodi- 30 tives to the embodiments described herein may be
ment of the NEST device of FIG . 17 having three diametri- employed, and are part of the invention described herein .
cally magnetized cylindrical magnets configured to rotate              Since brain activity is a distributed phenomenon, conven
about their cylinder axes.                                          tional high -energy pulses used by rTMS that focus on a
   FIG . 19 shows the example NEST device embodiment of specific area of the brain may not be optimal for influencing
FIG . 17 having three diametrically magnetized cylindrical 35 the overall frequency of the brain . Instead of using short
magnets configured to rotate about their cylinder axes and high -energy pulses at the desired frequency, it is possible
including a frame and base for mounting the NEST device . instead use a sinusoidal or near - sinusoidal magnetic field
   FIG . 20 shows an example embodiment of a NEST device (likely with lower energy ) to generate a similar effect. To
having eight diametrically magnetized cylindrical magnets affect the brain with a lower energy magnetic field , the
configured to rotate about their cylinder axes .                 40 stimulation may need to be applied for a longer period .
   FIG . 21 shows the magnet rotation of the example NEST              In some embodiments, described are methods and devices
device embodiment of FIG . 20 having eight diametrically that provide low frequency sinusoidal or near -sinusoidal
magnetized cylindrical magnets configured to rotate about transcranial magnetic stimulation therapy by rotating one or
their cylinder axes .                                               more permanent magnets in close proximity to the subject's
   FIG . 22 shows an example embodiment of a NEST device 45 head .
having two axially polarized half - disc magnets that rotate           Described are methods and systems for novel , inexpen
about a common rotation axis .                                      sive , easy to use therapy for aa number of mental disorders.
   FIG . 23 shows an exploded view of an alternate embodi- Described are methods and devices to treat mental disorders
ment of an example NEST device embodiment similar to that involve no medication . Methods and devices described
that of FIG . 22 having two rectangular magnets that rotate 50 herein gently “ tune” the brain and affect mood , focus, and
about a common rotation axis .                                      cognition of subjects .
   FIG . 24 shows an example embodiment of a NEST device               In one aspect are methods of treating a subject, compris
similar to the embodiments depicted in FIGS . 22 and /or 23 ing : (a ) adjusting output of a magnetic field for influencing
having two magnets rotating about a common rotation axis an intrinsic frequency of a specified EEG band of the subject
applied to a subject and showing the controller subunit. 55 toward a pre - selected or target intrinsic frequency of the
   FIG . 25 shows block diagram of an example embodiment specified EEG band ; and ( b ) applying said magnetic field
of a NEST showing the elements of the NEST device and its close to a head of the subject.
controller subunit .                                                   In another aspect are methods of altering an intrinsic
   FIG . 26 shows an example embodiment of a NEST device frequency of a brain of a subject within a specified EEG
having a single bar magnet that moves linearly along its 60 band, comprising: (a ) determining the intrinsic frequency of
north - south axis once each time the supporting ring is the subject within the specified EEG band ; (b ) comparing
rotated, providing a pulse - type alternating magnetic field at the intrinsic frequency from step (a ) to an average intrinsic
the frequency of rotation.                                          frequency of a healthy population database ; ( c ) if the intrin
  FIG . 27 shows an example embodiment of a NEST device sic frequency from step (a ) is higher than the average
having an EEG electrode located in the subject's ear canal, 65 intrinsic frequency of the healthy population database , shift
and a reference EEG electrode located on an earlobe of the          ing down the intrinsic frequency of the subject by applying
subject.                                                            a specific magnetic field close to a head of the subject,
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wherein said specific magnetic field has a frequency lower             In another aspect are methods of treating anxiety in a
than the intrinsic frequency of the subject; and (d) if the subject, comprising tuning up the Q - factor of an intrinsic
intrinsic frequency from step ( a) is lower than the average frequency of the subject by applying a magnetic field close
intrinsic frequency of the healthy population database , shift- to a head of the subject, wherein the magnetic field com
ing up the intrinsic frequency of the subject by applying a 5 prises at least one of ( a) a single pre - selected frequency; (b )
specific magnetic field close to a head of the subject, a plurality of frequencies within a specified EEG band; and
wherein said specific magnetic field has a frequency higher (c ) an intrinsic frequency of aa brain of the subject within a
than the intrinsic frequency of the subject.                        specified EEG band . In some embodiments, any of the
    In another aspect are methods of treating a subject, devices described herein may be used to treat anxiety.
comprising : (a ) adjusting output of a magnetic field for 10 In some embodiments, are method of treating depression
influencing a Q - factor, a measure of frequency selectivity of in a subject, comprising tuning down the Q - factor of an
a specified EEG band, of the subject toward a pre - selected intrinsic frequency of the subject by applying a magnetic
or target Q - factor of the band ; and ( b ) applying said mag- field close to a head of the subject, wherein the magnetic
netic field close to a head of the subject.                         field comprises at least one of (a ) a single frequency ; ( b ) a
    In another aspect are methods of treating a subject, 15 plurality of frequencies within a specified EEG band ; and (c )
comprising: determining the Q - factor of the intrinsic fre- an intrinsic frequency of a brain of the subject within a
quency within the specified EEG band of the subject; specified EEG band. In some embodiments , any of the
comparing the Q -factor of the intrinsic frequency from step devices described herein may be used to treat depression.
( a) to an average Q -factor of the intrinsic frequency of a           In some embodiments, the pre - selected EEG phase is
healthy population database ; if the Q - factor of the intrinsic 20 lower than the EEG phase between the two sites in the brain
frequency from step ( a) is higher than the average Q - factor of the subject. In some embodiments , the pre - selected EEG
of the intrinsic frequency of the healthy population database, phase is any EEG phase lower than the EEG phase between
tuning down the Q - factor of the intrinsic frequency of the the two sites in the brain of the subject. In some embodi
subject by applying a magnetic field with a plurality of ments, the pre - selected EEG phase is higher than the EEG
frequencies or with a single pre - selected frequency close to 25 phase between the two sites in the brain of the subject. In
a head of the subject; and if the Q - factor of the intrinsic        some embodiments, the pre - selected EEG phase is any EEG
frequency from step (a ) is lower than the average Q - factor        phase higher than the EEG phase between the two sites in
of the intrinsic frequency of the healthy population database, the brain of the subject. In some embodiments, the pre
tuning up the Q - factor of the intrinsic frequency of the selected EEG phase is an EEG phase of a population of
subject by applying a magnetic field with a pre - selected 30 people . The population of people may be a set of people
frequency to a head of the subject.                                 having a particular trait, characteristic, ability, or feature.
   In another aspect are methods of treating a subject, The population may be a healthy population of people . The
comprising: ( a ) adjusting output of a magnetic field for population of people may be a set of people not having a
influencing a coherence of intrinsic frequencies among particular disorder, such as anxiety, depression, or other
multiple sites in aa brain of the subject within a specified EEG 35 disorders mentioned herein . In some embodiments, the
band toward a pre -selected or target coherence value ; and (b ) methods comprise measuring EEG data of two sites in the
applying said magnetic field close to a head of the subject brain of the subject, and calculating the EEG phase between
   In another aspect are methods adjusting output of a the two sites in the brain of a subject. The specified EEG
magnetic field for influencing a coherence of intrinsic fre- frequency may be an intrinsic frequency as described herein .
quencies among multiple sites in a brain of the subject 40 The specified EEG frequency may be a pre - selected fre
within a specified EEG band toward a pre -selected or target quency as described herein . The pre - selected frequency may
coherence value comprising: determining the coherence be an average intrinsic frequency of a healthy population
value of the intrinsic frequencies among multiple locations database within a specified EEG band .
throughout a scalp of the subject; comparing the coherence            In another aspect are methods for influencing an EEG
value from step (a ) to an average coherence value of a 45 phase of a specified EEG frequency between multiple loca
healthy population database ; if the coherence value from tions of a brain of a subject, comprising : (a ) determining the
step ( a) is higher than the average coherence value of the EEG phase the between at least two locations measured on
healthy population database , lowering the coherence value the head of the subject; ( b ) comparing the EEG phase from
of the subject by applying at least two asynchronous mag- step ( a) to an average EEG phase of a healthy population;
netic fields close to a head of the subject; if the coherence 50 and ( c ) applying a magnetic field close to a head of the
value from step (a ) is lower than the average coherence subject wherein applying the magnetic field influences the
value of the healthy population database , raising the coher- determined EEG phase toward the average EEG phase of a
ence value of the subject by applying at least one synchro- healthy population .
nized magnetic field close to a head of the subject.                  In another aspect are methods for using a Transcranial
   In another aspect are methods of using a Transcranial 55 Magnetic Stimulation (TMS ) device for influencing an EEG
Magnetic Stimulation ( TMS ) device for influencing an phase of a subject of a specified EEG frequency, comprising :
intrinsic frequency of a subject within a specified EEG band , (a ) adjusting output of said TMS device ; ( b ) changing the
comprising : (a ) adjusting output of said TMS device ; (b ) EEG phase by repetitive firing of at least one magnetic field
changing EEG frequency, Q - factor, or coherence by repeti- using said TMS device ; and ( c ) applying said magnetic field
tive firing of a magnetic field using said TMS device; and (c ) 60 close to a head of the subject.
applying said magnetic field close to a head of the subject;          FIG . 1 shows an exemplary device having a magnet 2
   In another aspect are methods for treating a subject, coupled to and rotated by a motor 72 in which the magnet
comprising: ( a ) adjusting output of a magnetic field for 2 rotates so that the plane of rotation is generally perpen
influencing an EEG phase between two sites in the brain of dicular to the surface of the scalp of the subject 6 , and the
a subject of a specified EEG frequency toward a pre - selected 65 rotation axis 36 is generally parallel to at least a portion of
EEG phase of the specified EEG frequency ; and ( b ) applying the surface of the scalp of the subject 6. The motor 72 is
said magnetic field close to a head of the subject.                 coupled to the magnet 2 by a drive shaft 4 , and the magnet
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rotation is controlled by a controller 58 ( i.e. controller          (n) Head Injury ;
subunit) that can at least monitor and / or control the rotation     ( 0 ) Alzheimer's disease ;
of the magnet 2. Control of the rotation may include , for           (p ) Eating disorder;
non - limiting example, the speed of rotation , and the accel-       (q) Tinnitus; and
eration and / or deceleration of rotation , the time of rotation, 5 ( r ) Fibromyalgia
and the direction of rotation (e.g. clockwise, counter-clock-        In some embodiments, methods and devices described
wise ).                                                            herein can be used to treat at least two mental disorders
   FIG . 2 shows an exemplary device in which a magnet 2 listed above . In some embodiments, methods and devices
in the shape of a horseshoe is coupled to and rotated by a described herein can be used to treat at least three mental
motor 72 , and the magnet 2 is positioned such that the plane 10 disorders listed above . In some embodiments, methods and
of rotation is generally parallel to at least a portion of the devices described herein can be used to treat at least four
surface of the scalp of the subject 6 , and the rotation axis 36 mental disorders listed above . In some embodiments, meth
is generally perpendicular to at least a portion of the surface ods and devices described herein can be used to treat at least
of the scalp of the subject 6. The motor 72 is coupled to the five mental disorders listed above . In some embodiments ,
magnet 2 by a drive shaft 4 , and the magnet rotation is 15 methods and devices described herein can be used to treat at
controlled by a controller 58 (i.e. controller subunit) that can least six mental disorders listed above . In some embodi
at least monitor and / or control the rotation of the magnet 2 . ments, methods and devices described herein are not used to
Control of the rotation may include , for non - limiting treat schizophrenia .
example, the speed of rotation , and the acceleration and /or        In another aspect are methods of treating anxiety in a
deceleration of rotation , the time of rotation , and the direc- 20 subject, comprising tuning up the Q - factor of an intrinsic
tion of rotation ( e.g. clockwise , counter -clockwise ).            frequency of the subject by applying a magnetic field close
   FIG . 3 shows an exemplary device which two bar magnets to a head of the subject, wherein the magnetic field com
2a , 2b are coupled to and rotated by motors 72a , 72b , and prises at least one of ( a) a single pre - selected frequency ; ( b )
the magnets 2a , 2b are rotated synchronously to provide a a plurality of frequencies within a specified EEG band ; and
more uniform phase for the magnetic field in the brain of a 25 (c ) an intrinsic frequency of aa brain of the subject within a
subject 6. The motors 72a , 72b are coupled to the magnets specified EEG band . In some embodiments , any of the
2a , 2b , respectively, by a drive shafts 4a , 4b , and the rotation devices described herein may be used to treat anxiety.
of the magnets 2a and 2b about rotation axes 36a , 36b ,               In some embodiments, are method of treating depression
respectively, is controlled by a controller 58 ( i.e. controller      in a subject, comprising tuning down the Q - factor of an
subunit) that can at least monitor and / or control the rotation 30 intrinsic frequency of the subject by applying a magnetic
of the magnet 2a , 2b . Control of the rotation of the magnets field close to a head of the subject, wherein the magnetic
may include, for non -limiting example, the speed of rota- field comprises at least one of (a ) a single frequency; ( b ) a
tion, and the acceleration and /or deceleration of rotation , the plurality of frequencies within a specified EEG band ; and ( c )
time of rotation , and the direction of rotation ( e.g. clockwise, an intrinsic frequency of a brain of the subject within a
counter -clockwise ). The rotation of a single magnet (magnet 35 specified EEG band . In some embodiments, any of the
2a , for example ), may be controlled independently from devices described herein may be used to treat depression .
and / or simultaneously with the rotation of a second magnet          In some embodiments, methods and / or devices as
(magnet 2b , for example ) by the controller 58. Additional described herein can be used to treat symptoms of fibro
magnets may be similarly added to the device. In another myalgia . In some embodiments, methods and /or devices as
embodiment, a single motor is coupled to a plurality of 40 described herein can be used to improve symptoms of
magnets, and each of the magnets may be controlled by the fibromyalgia . For non - limiting example, some symptoms
controller, independently or simultaneously.                       that may be improved include widespread pain , tenderness
   In some embodiments, the magnetic field used by the to touch , nausea dizziness , temporomandibular joint dys
methods or devices are not capable of exciting brain cells . In function , skin problems, depression , myofascial pain , morn
some embodiments, the magnetic field used by the methods 45 ing stiffness, sleep issues , headaches , chemical sensitivity,
or devices are below thresholds of exciting brain cells . In dysmenorrhea, muscle twitches and weakness, fatigue, uri
some embodiments, the devices described can have one or nary and pelvic problems, fibro - fog cognitive and /or
more permanent magnets mounted onto one or more rotating memory impairment, anxiety , memory loss, breathing prob
shafts in such a way that it creates an alternating magnetic lems , and vision problems.
field when the shaft or shafts are spun . In some embodi- 50 In some embodiments, methods and / or devices as
ments, the speed of rotation can be set by the user or described herein can be used to halt the onset of a seizure .
controlled using neurological feedback to provide optimal In some embodiments, methods and /or devices as described
therapy                                                            herein can be used to prevent the onset of a seizure . In some
  Methods and devices described herein can be used to treat           embodiments, methods and / or devices as described herein
at least one mental disorder listed below :                        55 can be used to reduce or eliminate seizures by detuning the
  ( a ) Major depression ;                                            brain near the frequency of the seizures . In some embodi
  ( b ) Bipolar disorder;                                             ments, methods and / or devices as described herein can be
  ( c ) Schizophrenia ;                                               used to reduce or eliminate seizures by tuning up an area of
  (d) Anxiety disorder;                                               the brain ( i.e. , an intrinsic frequency in a band, such as
   e
        Obsessive -Compulsive disorder ;                           60 alpha ) different than the seizure area of the brain , thereby
  ( f) ADHD ;                                                         reducing the energy in the frequency associated with the
  ( g ) Autism ;                                                      seizure . The seizure may be caused by various conditions ,
  ( h ) Sleep disorder ;                                              diseases , injuries, and / or other factors . For non -limiting
  ( 1) Parkinson's disease ;                                          example, the conditions may include abnormalities in the
  ( k ) Drug addiction ;                                           65 blood vessels of the brain , atherosclerosis, or hardening of
  (1 ) Substance abuse ;                                              the arteries supplying the brain, bleeding into the brain , such
  ( m ) Seizure;                                                      as a subarachnoid hemorrhage, brain tumors, chromosomal
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abnormalities, congenital diseases or conditions , high blood three indications from the group presented above . In some
pressure, pregnancy and problems associated with preg- embodiments , methods and devices described herein can be
nancy, stroke, transient ischemic attack (mini- stroke ). For used to improve at least four indications from the group
non- limiting example, the diseases may include liver dis- presented above . In some embodiments, methods and
ease , Alzheimer's disease , dementia diseases , epilepsy, ner- 5 devices described herein can be used to improve at least five
vous system diseases , hereditary diseases , infections involv- indications from the group presented above . In some
ing the brain , encephalitis, brain abscess , bacterial embodiments, methods and devices described herein can be
meningitis , kidney failure , and chronic renal failure . For used to improve at least six indications from the group
non - limiting example , the injuries may include choking, presented above .
head injuries, electrical injuries, birth injuries, poisonous 10 In some embodiments, methods and devices described
bites or stings.                                                  herein can be used to improve at least one characteristic
   Methods and devices described herein can be used to from the group presented above , and at least one mental
improve at least one indication selected from the group disorder listed above . In some embodiments, methods and
consisting of replacement for meditation , quick nap , stress devices described herein can be used to improve at least one
release , attention span, comprehension , memory , lowered 15 characteristic from the group presented above , and at least
blood pressure , increased libido , sports performance, aca- two mental disorders listed above . In some embodiments,
demic performance, and any combination thereof. In some methods and devices described herein can be used to
embodiments, methods and devices described herein can be   improve at least two characteristics from the group pre
used to improve at least two indications from the group    sented above , and at least one mental disorder listed above .
presented above . In some embodiments , methods and 20 In some embodiments, methods and devices described
devices described herein can be used to improve at least herein can be used to improve at least two characteristics
three indications from the group presented above . In some from the group presented above, and at least two mental
embodiments, methods and devices described herein can be disorders listed above. In some embodiments, methods and
used to improve at least four indications from the group devices described herein can be used to improve at least one
presented above . In some embodiments, methods and 25 characteristic from the group presented above , and at least
devices described herein can be used to improve at least five three mental disorders listed above. In some embodiments,
indications from the group presented above . In some methods and devices described herein can be used to
embodiments, methods and devices described herein can be improve at least two characteristics from the group pre
used to improve at least six indications from the group sented above , and at least three mental disorders listed
presented above .                                            30 above . In some embodiments, methods and devices
   In some embodiments , methods and devices described described herein can be used to improve at least three
herein can be used to improve at least one indication from characteristics from the group presented above , and at least
the group presented above , and at least one mental disorder three mental disorders listed above . In some embodiments,
listed above . In some embodiments , methods and devices methods and devices described herein can be used to
described herein can be used to improve at least one indi- 35 improve at least three characteristics from the group pre
cation from the group presented above, and at least two sented above , and at least two one mental disorders listed
mental disorders listed above. In some embodiments, meth-         above .
ods and devices described herein can be used to improve at          In some embodiments , methods and devices described
least two indications from the group presented above, and at      herein can be used to improve at least one characteristic
least one mental disorder listed above . In some embodi- 40 from the group presented above , and at least one indication
ments, methods and devices described herein can be used to presented above. In some embodiments, methods and
improve at least two indications from the group presented devices described herein can be used to improve at least one
above , and at least two mental disorders listed above . In characteristic from the group presented above, and at least
some embodiments , methods and devices described herein two indications presented above . In some embodiments,
can be used to improve at least one indication from the group 45 methods and devices described herein can be used to
presented above , and at least three mental disorders listed improve at least two characteristics from the group pre
above . In some embodiments, methods and devices sented above , and at least one indication presented above . In
described herein can be used to improve at least two some embodiments, methods and devices described herein
indications from the group presented above, and at least can be used to improve at least two characteristics from the
three mental disorders listed above. In some embodiments, 50 group presented above , and at least two indications pre
methods and devices described herein can be used to sented above . In some embodiments, methods and devices
improve at least three indications from the group presented described herein can be used to improve at least one char
above , and at least three mental disorders listed above . In acteristic from the group presented above, and at least three
some embodiments, methods and devices described herein indications presented above . In some embodiments, meth
can be used to improve at least three indications from the 55 ods and devices described herein can be used to improve at
group presented above , and at least two one mental disorders least two characteristics from the group presented above,
listed above.                                                 and at least three indications presented above . In some
   Methods and devices described herein can be used to        embodiments, methods and devices described herein can be
improve at least one characteristic selected from the group used to improve at least three characteristics from the group
consisting of peripheral visual response, attention span , 60 presented above, and at least three indications presented
immediate reaction time ( IRT ), movement time (MT ) , above . In some embodiments, methods and devices
simple perceptual reaction time ( SPR) , conflict perceptual described herein can be used to improve at least three
reaction time (CPR) , and any combination thereof. In some characteristics from the group presented above , and at least
embodiments, methods and devices described herein can be two one indications presented above .
used to improve at least two indications from the group 65 Methods and devices described herein can be used to
presented above . In some embodiments, methods and provide an improvement to a mental disorder as measured
devices described herein can be used to improve at least using a rating scale selected from the group consisting of
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HAMA , HAMD , PANSS, MADRS, BARS , SAS , and any minutes, 30 seconds to 1 minute , 15 seconds to 30 seconds,
combination thereof. In some embodiments of at least one 5 seconds to 15 seconds , 1 second to 10 seconds , 1 second
aspect described above , the method provides an improve- to 5 seconds , 0.5 seconds to 1 second, and 0.1 seconds to 0.5
ment as measured using the Unified Parkinson's Rating second .
Scale . In some embodiments of at least one aspect described 5 In some embodiments, the intrinsic frequency of the
above , the method provides an improvement as measured subject is an alpha frequency of aa brain of the subject. In
using a modified Unified Parkinson's Rating Scale . The some embodiments , alpha EEG of a brain of a subject can
modified Unified Parkinson's Rating Scale may include , for be critical in normal cognitive processes and the desynchro
non- limiting example, measuring muscle tone and knee / arm nization of alpha activity can play a pathophysiological role
flexibility                                                      10 in the mental disorders listed above . In some embodiments ,
    In some embodiments , the PMERT (permanent Magneto- the therapy using methods or systems described lasts for
EEG Resonant Therapy) device ( i.e. the NEST device ) about 20 minutes, is very gentle, and unnoticeable to the
comprises one or more powerful magnets ( > 5000G each) subject. In some embodiments, the quantifiable change in
that rotate at a specific frequency or frequencies to bring alpha frequency can be seen clearly following the therapy
about the desired therapy. A single , dual, or multi - channel 15 session , and the patient may have an immediate reduction in
EEG is incorporated in the device to acquire a sample EEG symptoms. The therapy using methods or systems described
segment and determine the alpha frequency distribution . can be mild enough to be used every day or as needed . The
From this information , the device controls the frequency of therapy using methods or systems described does not have
rotation of the magnet or magnets to deliver therapy.               to involve any medication whatsoever.
    FIG . 4 shows an exemplary device in which the magnet 20 “ Patient” and “ subject ” are synonyms, and are used
2 rotates so that the plane of rotation is generally perpen- interchangeably. As used herein , they mean any animal (e.g.
dicular to the surface of the scalp of a subject 6 and a a mammal) on which the inventions described herein may be
bio -feedback sensor and /or EEG electrode 82a is used to practiced. Neither the term “ subject " nor the term “ patient”
control the speed of rotation about the rotation axis 36. The is limited to an animal under the care of a physician .
rotation of the magnet 2 is driven by a motor 72 which is 25 FIG . 5 shows a sample EEG segment for a subject before
coupled to a drive shaft 4 , and the drive shaft 4 is coupled therapy is delivered . The block on the left shows a time
to the magnet 2. In some embodiments at least two EEG series EEG while the subject is sitting at rest with eyes
electrodes, 82a , 82b are used to control the speed of rotation , closed . The block in the center shows the energy across the
wherein at least one EEG electrode , for example EEG frequency spectrum for the sampled EEG . The vertical line
electrode 82b , is used as a reference electrode ( and /or a 30 drawn through the peaks is at 9.1 Hz , the subject's intrinsic
ground electrode ). The electrodes, 820 , 826 may be con- alpha frequency. The circle at the right shows the distribu
nected to an amplifier 80 which can amplify the signal tion of EEG energy at the intrinsic alpha frequency through
received from the electrodes, 82a , 82b . The magnet rotation out the head, looking down on the top of the subject's head .
may be controlled and /or monitored by a controller subunit In the circle representation, the majority of the EEG energy
( controller ), 58 , which may also receive , record , and / or 35 at the alpha frequency is concentrated at the back of the
display the signal or signals received from the EEG elec- brain .
trodes 82a , 82b . In some embodiments, the reading from a             FIG . 6 is similar to FIG . 5 , except the EEG was sampled
reference EEG electrode, for example EEG electrode 82b , is immediately following therapy. In this, it can be seen that the
subtracted and / or otherwise removed from the reading from energy associated with the intrinsic alpha frequency has
the second EEG electrode , for example EEG electrode 82a . 40 increased significantly. From the circle representation on the
In some embodiments, the bio - feedback sensor /EEG elec- right, it can be seen that the distribution of energy at the
trode is used , at least in part, to determine the subsequent intrinsic alpha frequency throughout the head is more uni
treatment regimen for the subject.                                  form , though the majority of energy is still concentrated at
    In some embodiments, the EEG electrodes are used to the back of the brain .
measure the brain waves of the subject at various times , for 45 The PMERT Device (NEST Device )
non- limiting example, prior to applying a method of treat-            Devices described may contain a plurality of magnets ,
ment as provided herein using a device described herein , and a plurality of magnets may be used to form an array to
during application of a method of treatment as provided produce aa desired magnetic field . Such magnetic field can be
herein using a device described herein , and / or after applying a pulsing or temporally variable unipolar magnetic field
a method of treatment as provided herein using a device 50 where treatments are performed with a magnetic field having
described herein . In some embodiments, the EEG electrodes         a specific pole .
are used to measure the brain waves of the subject at various         In some embodiments of a device or devices as described
times , for non- limiting example , prior to using a device herein , the device is operable to influence an intrinsic
described herein , during use of a device described herein , frequency of the brain of a subject within a specified EEG
and / or after using a device described herein . In some 55 band . A device as described herein may be operable to
embodiments, the EEG electrodes are used to measure the influence a Q - factor of an intrinsic frequency of the brain of
brain waves of the subject continuously for a specified a subject within a specified EEG band . A device as described
period of time . In some embodiments the specified period of herein may be operable to influence a coherence of intrinsic
time is for non- limiting example, at least about one hour, at frequencies among multiple sites in the brain of a subject
least about 45 minutes, at least about 40 minutes, at least 60 within a specified EEG band . A device as described herein
about 30 minutes, at least about 20 minutes, at least about 15 may be operable to influence a EEG phase of intrinsic
minutes, at least about 10 minutes, at least about 5 minutes, frequencies among multiple sites in the brain of aa subject
at least about 1 minute , at least 30 seconds , at least about 10 within a specified EEG band .
seconds, at least about 5 seconds , and at least about 1            In some embodiments, a method of treating a subject
second . The term “ about” when referring to the specified 65 comprises : (a ) adjusting output of a magnetic field for
period of time of use of the EEG electrodes to measure brain influencing a Q - factor, a measure of frequency selectivity of
waves can mean variation of, for example , 1 minute to 5 a specified EEG band, of the subject toward a pre - selected
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or target Q - factor of the band ; and (c ) applying said mag- dynamic magnetic field , the magnetic source may be rotated ,
netic field close to a head of the subject.                    oscillated, moved through a particular pattern , or otherwise
   In some embodiments, devices described can comprise a moved relative to a head of a subject. The application area
substantially planar member upon which are affixed a plu- of the subject can be positioned relative to the magnetic
rality of magnets. Thus, the magnets may be oriented so as 5 source so that the magnetic field extends around and /or
to permit application of a magnetic field having a substan- through the application area . In certain embodiments , the
tially uniform polarity to a user . In some embodiments , the devices described comprise at least one magnet having a
magnets may also be positioned on the array so that adjacent north and south magnetic pole and a pole width equal to the
magnets have opposite polarities.                              width of the magnet at the poles .
   In some embodiments, the devices described may be 10 Three parameters of magnetic fields generated by the
configured so as to restrict, in one or more directions, the devices described can be manipulated:
movement of the magnet within the devices, thereby                ( a) the intensity of the magnetic field at the treatment site ,
enabling selection of the polarity of the magnetic field to           which can be determined by the strength of the magnets
which the user is subjected . For example , magnets may be            used and the distance between the magnets and the
placed within the devices described so that one face of the 15        subject's head;
magnet is always pointing toward a head of a subject.                 (b ) the frequency of the magnetic field , i.e. , the rate of
Accordingly, the subject is subjected to a dynamic magnetic               change of the magnetic field , which can be determined
field having a specific polarity.                                       by movements of at least one magnet, such as by
   In some embodiments, the devices described comprise at                varying the speed at which at least one magnet moved
least one rotating mechanism . In some embodiments, 20                   relative to the application area ;
mechanical subunits including cams , gears and / or linkages        ( c ) the amplitude of the net change in magnetic flux ( or
may be utilized to move at least one magnet. These mechani-              waveform ) to which the application area is subjected,
cal subunits may be powered through motorized means or                   and
may be connected to other devices moving
                                     m        in the surround-      ( d) the phase of the magnetic field between two (or more )
ing environment which will cause the mechanical device to 25             magnets ( i.e. the magnetic phase ) when the magnetic
move the magnet. An external exciter magnet may be                       field frequencies of the two (or more) magnets are the
positioned near the devices described, where the external                same ( or substantially the same ).
exciter magnet generating a sufficiently strong magnetic            As to the amplitude of the net change in magnetic flux, it
field to cause movement of at least one magnet contained is generally known that permanent magnets have a north
within the devices described .                                 30 pole and south pole , with north pole magnetic flux emanat
   In some embodiments, magnets of the devices described ing from the north pole , and south pole magnetic flux
can be rotated by a rotating mechanism other than a motor. emanating from the south pole . In some embodiments, the
In some embodiments, the devices comprise at least one application area is subject to a “ full waveform " according to
orifice so that a stream of fluid such as a gas or liquid may the devices and methods described . For example, when a
be forced into the devices, wherein the stream of fluid being 35 permanent magnet rotates relative to an application area , the
sufficiently strong so as to move at least one magnet, thus application area may initially be subjected to a “ full north
creating relative movement between the at least one magnet         pole field ” where the north pole of the magnet is closest to
and a head of a subject.                                           the application area . As the north pole rotates away from the
   While permanent magnets of any strength may be utilized application area and the south pole rotates toward the
for the methods and devices described herein, generally 40 application area , the strength of the north pole field
magnets having strengths within the range of about 10 Gauss decreases until a “ neutral field ” is encountered, approxi
to about 4 Tesla can be used . In some embodiments, the mately at the midpoint of the magnet. As the south pole
strength of at least one permanent magnet is from about 100 continues to rotate toward the application area , the applica
Gauss to about 2 Tesla. In some embodiments, the strength tion area is subjected to a south pole field of increasing
of at least one permanent magnet is from about 300 Gauss 45 intensity until the south pole is closest to the application area
to about 1 Tesla .                                              where the application area is subjected to a “ full south pole
   In some embodiments, the permanent magnets for the field .” By rotating in this fashion , the object is subjected to
methods and devices described comprise rare earth magnets a “ full waveform . ” Likewise, the application area is also
                                                                                       S



such as neodymium , iron , boron or samarium cobalt mag- subject to a “ full waveform " when the magnet rotates from
nets . In some embodiments, the permanent magnets for the 50 the south pole to the north pole . As used herein , a south pole
methods and devices described are neodymium iron boron may also be referred to as “negative,” ( - ) , or S , and a north
magnets. In some embodiments, ceramic magnets, electro- pole may also be referred to as “ positive, ” ( + ) , or N.
magnets or other more powerful magnets may be utilized as          For example, FIG . 10A through FIG . 101 show some
they become available . In some embodiments, electromag- exemplary embodiments for various movements of at least
nets may be utilized for the methods and devices described . 55 one permanent magnet. FIG . 10A shows a graph of the
Current can be supplied to the electromagnet by wires magnetic field over time . That is , it shows a graph 92a
penetrating through the devices described and connecting to expressing an example magnetic field experienced by a
an external power source .                                      subject 6a as a magnet 2a rotation about an axis between the
   Described are magnetic therapeutic devices and methods north pole ( + ) and south pole ( - ) of the magnet 2a . The
for magnetic therapies where a brain of a subject is subject 60 position of the magnet relative to the subject 6a and the field
to at least one dynamic magnetic field having an amplitude strength ( + or - , amplitude can vary , depending on for
of at least a half waveform . In certain embodiments, the example, the application, method, magnet and therapy being
treatment area is exposed to a half waveform of magnetic delivered ) is shown in FIG . 10A . For example at Time =0 ,
flux . In other embodiments , the treatment area is exposed to the subject 6a may experience no magnetic field (i.e. a
a full waveform of magnetic flux . Still other embodiments 65 neutral field ) when the magnet's north pole is equally as far
may permit treatment area to be exposed to either a half or from the subject ba as the magnet's south pole (assuming the
full waveform . To subject the treatment area to such a north pole and south pole have equal strengths yet opposite
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polarities ). As the magnet 2a spins such that the south pole and swing movements. In some embodiments , said move
of the magnet 2a is closest to the subject 6a , the subject 6a ment comprises at least one of rotational motion, linear
experiences a negative magnetic field , as shown in FIG . motion , and swing motion .
10A , and as the magnet 2a spins further, the subject 6a is             In some oscillatory embodiments, a plurality of magnets
exposed to a changing magnetic field from , for example, a 55 are fixedly mounted on a supporting plate , the magnets being
neutral field , to a negative field, to a neutral field , to a spaced apart from each other so that the each magnet is
                                                                     spaced apart from the next nearest magnets by at least one
positive field , and so on . As further shown in FIGS . 10A , and pole
10H - 101 , an array of magnets ( i.e. a plurality ) may be used upwardly   width . Each magnet may be positioned so that the
alternatively to a single magnet to provide a more uniform 10 example, infacing           pole of each magnet is the same . For
                                                                                    one configuration, the north pole face of each
field to the subject's brain . FIG . 10H - 101 shows a subject magnet is mounted             to a supporting plate . In an alternate
6al exposed to an array of nine rotating magnets , as well as
a subject 6a2 exposed to an array of five rotating magnets. toconfiguration         , the south pole face of each magnet is mounted
                                                                         a supporting plate . By laterally displacing magnets so
In some embodiments, any number of rotating magnets may arranged
be used to provide a more uniform field to the subject's 15 subjected proximate  to a
                                                                                              to an application area , such area is
                                                                                      repeating  half waveform ( full north to zero to
brain .                                                              full north )
                                                                                . In  another  embodiment  , by reversing the polarity
    Various exemplary wave forms resulting from embodi of the magnets proximate to the application                    area , such area
ments of the devices and methods provided herein are shown is subjected to a repeating half waveform ( full south to zero
in FIG . 10B through FIG . 10G . For example, FIG . 10B to full south ).
shows a full waveform in the form of a step function where 20 In some oscillatory embodiments, a plurality of elongated
a magnetic field cycles through a sequence wherein the magnetic sources are placed adjacent to each other so that a
magnetic field is positive ( + ) then neutral, then negative ( - ) , repeating pattern of alternating magnetic poles are formed ,
then neutral, and repeats. FIG . 10C shows a half waveform the poles being spaced apart by a predetermined distance .
in the form of a step function where a magnetic field cycles The oscillation of the magnetic sources by a distance equal
through a sequence wherein the magnetic field is positive ( + ) 25 to or greater than the predetermined distance subjects an
then neutral, and repeating this sequence . FIG . 10D shows application area to a complete reversal of magnetic flux, i.e. ,
an alternative aa half waveform in the form of a step function a full waveform .
where a magnetic field cycles through a sequence wherein                FIGS . 11A through 11K show additional exemplary
the magnetic field is positive ( + ) then off ( or neutral), embodiments for various movements of at least one perma
remaining off (neutral) for a longer period of time than 30 nent magnet. FIG . 11A shows two magnets 102a1 , 102a2
remaining positive ( + ) , and repeating this sequence . FIGS . coupled to each other and spun about a rotation axis 138a .
10E , 10F and 10G each show example full wave forms In the embodiment of FIG . 11A , the subject (not shown)
resulting from embodiments of a NEST device having at could be positioned , for example , such that the rotation axis
least one magnet wherein the magnet’s, or magnets ' north 138 is generally perpendicular with the scalp of the subject,
pole and south pole alternatively change distances from the 35 or wherein the rotation axis 138 is generally parallel to the
subject in a regular pattern . By shielding a pole of the scalp of the subject, depending on the desired waveform
magnets of the array, half waveforms may be created using and /or magnetic flux for the particular subject. FIG . 11B is
the same array of magnets, for example shielding as shown similar to FIG . 11A but with the magnets 102b1 , 10262
in FIG . 11C and /or FIG . 11D , discussed further below .           having opposite polarity to the magnets 102a1 , 102a2 of
    In some embodiments , the application area is subject to a 40 FIG . 11A .
“ half waveform " according to the devices and methods                  FIG . 11C depicts another embodiment device having a
described . For example, an object may be subjected to a single magnet 102c having a shield 194 covering the north
" half waveform ” where the magnet rotates relative to the pole of the magnet 102c . The magnet 102c spins about a
application area from aa full north pole field to a neutral field rotation axis 138 along the neutral plane of the magnet (i.e.
or from full south pole field to a neutral filed . In some 45 between the north and south poles of the magnet 102c ) . In
embodiments, the " half waveform ” treatment can be the embodiment of FIG . 11C , the subject ( not shown) could
achieved by limiting rotation or movement of the magnets. be positioned , for example, such that the rotation axis 138 is
In some embodiments, the “ half waveform ” treatment can be generally perpendicular with the scalp of the subject, or
achieved by shielding the north pole or south pole of the wherein the rotation axis 138 is generally parallel to the
magnet, leaving only the other pole exposed for the treat- 50 scalp of the subject, depending on the desired waveform
ment of the application area .                                       and / or magnetic flux for the particular subject. FIG . 11D is
    To subject the treatment area to a dynamic magnetic field similar to FIG . 11C but with the magnet 102d having
by the methods and devices described herein , the magnetic opposite polarity to the magnet 102c of FIG . 11C . FIG . 11D
source may be rotated , oscillated , moved through a particu- shows single magnet 102d having a shield 194 covering the
lar pattern , or otherwise moved relative to the treatment 55 south pole of the magnet 102d .
area. In some embodiments, the magnetic source is rotated               FIG . 11E shows another embodiment device having a
about an axis . In some embodiments, the magnetic source is single magnet 102e that swings with pendulum -like motion
oscillated with respect to the application area . In some along a pendulum path 198 , the pendulum path 198 at least
embodiments, the magnetic source has a linear movement in part defined by the distance between magnet 102e and the
with respect to the application area . Such linear movement 60 pendulum pivot 96. In the shown embodiment, the south
can be like a piston movement. In some embodiments, the pole ( S ) of the magnet 102e is farther from the pendulum
magnetic source has a swing motion with respect to the pivot 96 than the north pole ( N ) of the magnet 102e . In the
application area . Such swing motion can be like a swinging embodiment of FIG . 11E , the subject ( not shown ) could be
pendulum movement. In some embodiments, the magnetic positioned , for example, such that the pendulum path 198 is
source has aa combination of rotation, linear, oscillated , and 65 generally perpendicular with the scalp of the subject, or
swing movements. In some embodiments, the magnetic wherein the pendulum path 198 is generally parallel to the
source has any combination of rotation , linear, oscillated,         scalp of the subject, depending on the desired waveform
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and / or magnetic flux for the particular subject. FIG . 11F has speed setting may be set by the user or may be set by a
similar characteristics to FIG . 11E , but with the magnet 102f controller that uses a biological sensor as feedback to
of FIG . 11F having opposite polarity to magnet 102e of FIG . optimize the magnetic field frequency.
11E .                                                                  In some embodiments, the methods and devices described
    FIG . 116 depicts another embodiment device having a 5 use at least one bio - feedback sensor, the sensor can be an
single magnet 102g that is configured to spin about a rotation EEG lead placed on the scalp , along with a reference
axis 138 positioned in the north pole region of the magnet electrode that can be placed in an area of little sensed brain
102g ( i.e. somewhere between the neutral plane of the activity. When more than one EEG sensor is used , correla
magnet and the north pole ( N ) end of the magnet 102g ). The tion information can be gained among separate areas of the
rotation axis 138 is generally parallel to the neutral plane 10 brain . The EEG and reference leads can be connected
( not shown ) of the magnet 102g . In the embodiment of FIG . through a differential amplifier to a controller module that
116 , the subject (not shown) could be positioned , for regulates the speed of at least one motor to rotate at least one
example , such that the rotation axis 138 is generally per- magnet above the scalp .
pendicular with the scalp of the subject, or wherein the                Sensing EEG with a magnet rotating in the vicinity can be
rotation axis 138 is generally parallel to the scalp of the 15 difficult, since the magnet can affect the electrode . To allow
subject, depending on the desired waveform and / or mag- proper EEG measurement, a technique may be used to
netic flux for the particular subject. FIG . 11H is similar to subtract the pure sine wave from the sensed EEG . In some
FIG . 11G but with the magnet 102h having opposite polarity embodiments , the magnet rotation can be stopped tempo
to the magnet 102g of FIG . 116 , and wherein the rotation rarily in order to take an EEG measurement that does not
axis 138 positioned in the south pole region of the magnet 20 include the effect of the         rotating magnet.
102h ( i.e. somewhere between the neutral plane of the                  Provided herein is aa device operable to influence an EEG
magnet and the south pole ( S ) end of the magnet 102h ) .           phase between two sites in the brain of a subject 2806 within
    FIG . 111 shows another embodiment device having a a specified EEG band, for example , as shown in FIG . 28 .
single magnet 102j mounted a distance away from the Any of the devices described herein may be used to influ
rotation axis 138 of the device , and having the north pole (N) 25 ence the EEG phase between two sites in the brain of a
of the magnet 102j closer to the rotation axis 138 than the subject within a specified EEG band . The device may
south pole ( S ) of the magnet 102j. In the embodiment of comprise at least two permanent magnets 2802a , 2802b ,
FIG . 111 , the subject (not shown ) could be positioned , for wherein the subunit (not shown in FIG . 28 , but shown in
example, such that the rotation axis 138 is generally per- other figures, for example, FIGS . 1-4 , 24 , 25 , 27 ) of the
pendicular with the scalp of the subject, or wherein the 30 device is coupled to both the first and the second magnet,
rotation axis 138 is generally parallel to the scalp of the and wherein the subunit enables movement of the second
subject, depending on the desired waveform and /or mag- magnet at a frequency between about 0.5 Hz and about 100
netic flux for the particular subject. FIG . 11J is similar to Hz . The subunit may enable movement of the second
FIG . 111 but with the magnet 102k having opposite polarity magnet at a frequency between about 2 Hz and about 20 Hz .
to the magnet 102j of FIG . 111 .                                 35 The subunit may enable movement of the first and second
    FIG . 11K depicts an alternate embodiment device having magnet at the same frequencies.
a single arc - like magnet 1021 (which may be , for example,            FIG . 28 shows an example embodiment of a NEST device
a horseshoe magnet ), that is coupled to a drive shaft 104 applied to a subject 2806 , wherein the NEST device has
aligned with the rotation axis 138. As the drive shaft 104 three diametrically magnetized cylindrical magnets 2802a ,
spins about the rotation axis 138 , the magnet 1021 likewise 40 2802b , 2802c , rotating about their cylinder axes having a
rotates about the rotation axis 138. In the embodiment of magnetic phase between at least two of the magnets that is
FIG . 11K , the subject (not shown ) could be positioned, for not zero . As shown in FIG . 27. a first permanent magnet
example , such that the rotation axis 138 is generally per- 2802a of a device operable to influence an EEG phase may
pendicular with the scalp of the subject, or wherein the have a first rotational orientation relative to a treatment
rotation axis 138 is generally parallel to the scalp of the 45 surface 2899 of the device and the second permanent magnet
subject, depending on the desired waveform and / or mag- 2802b may have a second rotational orientation relative to
netic flux for the particular subject.                               the treatment surface 2899 of the device . The device may be
    The phrase “ continuously applied ” or “ continuous appli- operable to move the first permanent magnet 2802a at the
cation ” refer to treatments where an application area is same frequency as the second permanent magnet 2802b .
subject to at least one magnetic field with a full waveform 50 In some embodiments, a magnetic field results from aa first
or a half waveform for a period of time typically longer than magnetic source and a second magnetic source . FIG . 29
2 minutes. Such phrases are distinguished from short pulse shows the magnetic field strengths 2997a , 2997b of two
application (typically microseconds) of a magnetic field .           magnets moving at the same frequency at the same time
    In some embodiments, the devices described can be 2992 , but having a magnetic phase 2991 relative to one
powered with a rechargeable battery. One battery charge can 55 another out of phase relative to each other ). The magnetic
be enough for one or more therapy sessions . In some field strengths in this graph are plotted with time on the x
embodiments, a display can indicate battery life remaining axis , and magnetic field strength on the y axis ( with two x
and signal when the device should be recharged .                     axis , to show the relative field strengths of each magnet
    In some embodiments, the devices described use at least simultaneously ). As depicted in FIG . 29 , a first magnetic
one connection to a computer to allow for upload of therapy 60 source and a second magnetic source may be out of phase
information , download of software upgrades, and to order relative to each other in order to influence the EEG phase of
more sessions to be allowed for the device . The connection the subject. In some embodiments, the amount that the first
may be a USB type of connection , or another type of magnetic source and the second magnetic source are out of
connection known or contemplated .                                   phase relative to each other is called the magnetic phase
    The speed of rotation can be critical to the specific therapy 65 2991. The magnetic phase may be measured peak to peak
that is delivered . Therefore , in some embodiments, the speed (i.e. peak of the first magnet’s field strength to peak of the
of rotation is tightly controlled . In some embodiments , the second magnet's field strength as shown in FIG . 29 , at
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2991 ) , or trough to trough, or inflection to inflection , or any   EEG frequency may be a pre - selected frequency as
similar plot characteristic on both of the magnets ’ field           described herein . The pre - selected frequency may be an
strength graphs.                                                     average intrinsic frequency of a healthy population database
   In some embodiments , the first portion of the treatment          within a specified EEG band .
surface is the portion of the treatment surface approximately 5 The magnetic phase of the device may be operable to
closest to the first permanent magnet, and wherein the influence an EEG phase between aa first site and a second site
second portion of the treatment surface is the portion of the in the brain of a subject of a specified EEG frequency. FIG .
treatment surface approximately closest to the second per- 30 shows theoretical EEG electrode readings 3095a , 3095b
manent magnet. For example , in FIG . 28 , the treatment measured at two locations on a subject's head within a single
                                                2

surface 2899 extends between the magnets 2802a , 2802b , 10 EEG band when the two locations are exhibiting similar (or
2802c and the head of the subject 2806. The first portion of the same) frequency, but are out of phase relative to each
the treatment surface is that portion of the treatment surface other, i.e. displaying an EEG phase 3089. The EEG readings
2899 between the first magnet 2802a and the nearest portion over time in this graph are plotted with time on the x axis ,
of the head of the subject 2806 , Likewise , the second portion and EEG readings on the y axis (with two x axis , to show
of the treatment surface is that portion of the treatment 15 two EEG electrode readings taken simultaneously at differ
surface 2899 between the second magnet 2802b and the ent locations on the head of the subject ). As depicted in FIG .
nearest portion of the head of the subject 2806. In some 30 , a first EEG reading 3095a , and aa second EEG reading
embodiments, the first portion of the treatment surface is the 3095b may be out of phase relative to each other. In some
portion of the treatment surface closest to the first permanent embodiments, the amount that the first EEG reading and the
magnet that is intended to be approximately tangential to the 20 second EEG reading are out of phase relative to each other
head of the subject nearest that treatment surface . In some is called the EEG phase 3089. The EEG phase 3089 may be
embodiments, the second portion of the treatment surface is measured peak to peak ( i.e. peak of the first EEG reading to
the portion of the treatment surface approximately closest to peak of the second EEG reading as shown in FIG . 30 , at
the second permanent magnet that is intended to be approxi- 3089 ) , or trough to trough, or inflection to inflection , or any
mately tangential to the head of the subject nearest that 25 similar plot characteristic on both of the EEG reading
treatment surface .                                                  graphs.
   In some embodiments of the devices disclosed herein , the           In some embodiments, the first site in the brain of a
difference between the first rotational orientation and the          subject may generally align with a first permanent magnet,
second rotational orientation results in a magnetic phase and the second site in the brain of a subject may generally
when the first permanent magnet is moved at the same 30 align with a second permanent magnet of the device to
frequency as the second permanent magnet . As shown in               influence the EEG phase between those two sites . Additional
FIG . 28 , for non- limiting example, the first magnet 2802a         sites also be measured , and additional magnets may addi
                                    the trea ent surface
has a rotational orientation relative                                tionally be used to influence the EEG phase between given
2899 that is different than the rotational orientation of            sites toward a pre - selected EEG phase .
second magnet 2802b . The first magnet 2802a has a rota- 35 Provided herein is a device comprising, a means for
tional orientation wherein its neutral axis nearly parallel (or applying a first magnetic field to a head of a subject; and a
tangential, where the treatment surface is curved ) to the means for applying a second magnetic field to a head of a
treatment surface 2899 nearest it , with its north pole closest subject whereby the means for applying the first magnetic
to the treatment surface 2899. The second magnet 2802b has field and the means for applying the second magnetic field
a rotational orientation wherein its neutral axis that is nearly 40 are capable of influencing an EEG phase between at least
perpendicular to the treatment surface 2899 nearest it , with two sites in a brain of the subject of a specified EEG
its north pole only slightly closer to the treatment surface frequency. The magnetic fields ( first magnetic field , and
2899 than its south pole . Relative to the treatment surface second magnetic field ) may be of the same frequency, but
nearest each magnet, thus, the first magnet 2802a has a out of phase with each other.
rotational orientation that is offset from the rotational axis of 45 Additional magnetic fields may be provided by additional
the second magnet 2802b by around 90 degrees. The first means for applying such magnetic fields. These too may be
rotational orientation relative to a first portion of a treatment out of phase with each other, or with any of the magnetic
surface of the device may be between at least about 0 fields. Nevertheless, the magnetic fields in some embodi
degrees and about 360 degrees different from the second ments may have the same frequencies. The devices may be
rotational orientation relative to a second portion of the 50 a Permanent Magneto - EEG Resonant Therapy ( PMERT)
treatment surface of the device . The first rotational orienta- (i.e. a Neuro - EEG Synchronization Therapy NEST device )
tion relative to a first portion of a treatment surface of the as described herein .
device may be at least one of: between at least about o            Even a device having a magnetic phase of 0 , where the
degrees and about 180 degrees , between at least about 0 magnets spin at the same frequencies, and in -phase relative
degrees and about 90 degrees, between at least about 0 55 to the treatment surface of the device ( and /or relative to the
degrees and about 45 degrees, between at least about 0 head of the subject ), may influence the EEG phase between
degrees and about 30 degrees, between at least about 0 two locations measured on the subject's head . For example,
degrees and about 15 degrees, between at least about            if prior to treatment, two EEG electrodes take EEG readings
degrees and about 10 degrees, at least about 5 degrees, at within an EEG band , and the frequencies are the same (or
least about 10 degrees, at least about 15 degrees , at least 60 substantially so ) , however, the EEG readings have peaks for
about 30 degrees, at least about 45 degrees, at least about 60 each electrode at different times ( i.e. a non - zero EEG phase) ,
degrees , at least about 90 degrees , at least about 120 degrees, a device as described herein may influence the EEG phase
at least about 180 degrees, at least about 240 degrees, and at by applying a magnetic field having a magnetic phase (i.e.
least about 270 degrees different from the second rotational where the magnets move at the same frequency and in -phase
orientation relative to a second portion of the treatment 65 with each other ).
surface of the device . The specified EEG frequency may be          In some embodiments, a device comprises a first electrode
an intrinsic frequency as described herein . The specified operable to detect electrical brain activity ; and a second
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electrode operable to detect a reference signal, wherein the directly, and / or with hair between the scalp and the elec
first electrode is located on the subject in at least one of: an trode ). A single or a plurality of electrodes may be placed on
area of low electrical resistivity on a subject, and an area the scalp for coherence measurement, phase measurement,
with substantially no electrical impulse interference on a intrinsic frequency measurement, and / or Q - factor measure
subject, and wherein the second electrode is located on the 5 ment. Noise from scalp movement and / or resistivity from
subject. In some embodiments, a device comprises a first the skull may be filtered from the signal (or signals) received
electrode operable to detect electrical brain activity ; and a from the EEG electrodes, however, such filtering may not be
second electrode operable to detect a reference signal, necessary. Curve smoothing may be applied to the signal ( or
wherein the first electrode is located on the subject in at least signals) received from the EEG electrodes, however, such
a portion of the ear canal of the subject, and wherein the 10 curve smoothing may not be necessary. Using any of the
second electrode is located on the subject. Such electrode EEG recording means noted herein , multiple signal record
placements and configurations may be part of any NEST ings may be taken and combined to determine, for non
device described herein . Alternatively, these electrode con- limiting example , a coherence measurement, an intrinsic
figurations (including placement and conformation ) may be frequency measurement, and /or a Q - factor measurement. An
part of any device wherein aa clearer EEG signal is desired , 15 EEG electrode cap may be used, and signals from one or
since these configurations result in reductions in noise and       more electrodes of the cap may be used as described herein
reduced resistivity from other signals ( such as muscle            to determine an intrinsic frequency, a Q - factor, or coherence .
twitches, etc ) as compared to electrodes placed on, for              The area of the scalp upon which the first EEG electrode
example , the head of a subject.                                   (or the plurality of electrodes) is/ are placed may be induced
   FIG . 27 shows an example embodiment of a NEST device 20 to have less muscle activity, or it may naturally have less
having a first EEG electrode 2782a located in the subject's muscle activity than other areas on the scalp . Inducing less
ear canal 2707 , and a reference EEG electrode 2782b ( i.e. a muscle activity in the area of the scalp may be achieved in
second electrode ) located on an earlobe of the subject 2706 . various ways . For non - limiting example , the area may be
Conductive gel 2783 may also be used with the first elec- relaxed by a muscle relaxation means such as an injection
trode 2782b . In the embodiment shown in FIG . 27 , the 25 with a substance that relaxes ( and /or paralyzes) the muscles
electrodes 2782a , 2782b , couple by wires to a controller in the area , a topical application of a substance that relaxes
subunit 2758. The controller subunit 2758 also couples to at ( and /or paralyzes) the muscles in the area , and / or by an
least one magnet 2702 operable to apply a magnetic field to ingested muscle relaxation substance .
the subject's 2706 brain by spinning the magnet 2702 about            In some embodiments, the second electrode operable to
its axis (not shown ). Other NEST devices as described 30 detect aa reference signal is a ground reference. The second
herein may be used and may include the EEG electrodes as electrode may be an ear clip attached to , for non - limiting
described . Other magnet, magnets, and / or magnetic field example , a subject's earlobe. The second electrode may be
configurations as described herein may be used . Other attached to a location showing substantially no EEG activity .
controller subunits as described herein may be used . The The second electrode may be an ear clip .
first electrode may be shaped to fit the area having substan- 35 The device as described herein may be operable to
tially no electrical impulse interference, for non- limiting measure the EEG signal from the subject's brain prior to
example, a portion of the ear canal or a portion of the nasal and /or after the application of the magnetic field to the
cavity . The electrode may be shaped like a hearing aid , subject. The device as described herein may comprise logic
including , for non - limiting example, completely in the canal (in a computer readable format for non -limiting example,
shaped, canal shaped, half - shell shaped , full shell shaped , 40 hardware , software) that receives and records the EEG
behind the ear shaped , and open ear shaped. The first signal prior to and / or following application of the magnetic
electrode may be conformable to the area having substan- field to the subject's brain ( or a portion thereof). The device
tially no electrical impulse interference . The first electrode as described herein may comprise logic ( in a computer
may be compliant such that it fits the specific anatomy of the readable format) that determines the intrinsic frequency of a
subject. The first electrode may come in multiple sizes to 45 specified EEG band of the subject using the EEG signal prior
accommodate a range of subjects ' anatomy. The first elec- to and / or following application of the magnetic field to the
trode may be configured such that the subject may place the        subject's brain ( or a portion thereof ). The device as
electrode in the area having substantially no electrical described herein may comprise logic ( in a computer read
impulse interference without assistance from , for non - lim- able format) that determines the Q - factor of an intrinsic
iting example, a second person , a trained EEG technician , or 50 frequency of a specified EEG band of the subject using the
a medical professional.                                            EEG signal prior to and / or following application of the
   The area having substantially no electrical impulse inter- magnetic field to the subject's brain ( or a portion thereof).
ference may be a location having substantially no muscle The device as described herein may comprise logic ( in a
activity. The area having substantially no muscle activity computer readable format) that determines the coherence of
may naturally have substantially no muscle activity. Alter- 55 the intrinsic frequencies of a specified EEG band of the
natively, the area having substantially no muscle activity         subject measured at multiple brain locations. The device as
may be relaxed by a muscle relaxation means such as , for described herein may comprise logic ( in a computer read
non- limiting example , an injection with a substance that able format ) that determines the phase of the intrinsic
relaxes ( and /or paralyzes) the muscles in the area , a topical frequencies of a specified EEG band of the subject measured
application of a substance that relaxes ( and /or paralyzes) the 60 at multiple brain locations.
muscles in the area , and / or by an ingested muscle relaxation        Provided herein is aa method of treating a subject, com
substance.                                                         prising adjusting output of a magnetic field for influencing
  While an anatomical location of substantially no electrical an intrinsic frequency of a specified EEG band of the subject
impulse interference (but where brain activity may be mea- toward a pre - selected intrinsic frequency of the specified
sured ) may provide a clearer EEG signal resulting in less 65 EEG band ; and applying said magnetic field close to a head
noise and reduced resistivity from the skull, the first elec-      of the subject. In some embodiments, a NEST device , such
trode may alternatively be placed on the scalp ( either            as one of the NEST devices (PMERT devices ) described
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herein is used to create the magnetic field of the method . In NEST device , such as one of the NEST devices ( PMERT
some embodiments , influencing an intrinsic frequency may devices ) described herein is used to create the magnetic field
include influencing harmonics of the pre -selected intrinsic of the method .
frequency of the specified EEG band . In some embodiments ,             Provided herein is a method of altering a Q - factor of an
the pre- selected intrinsic frequency is a harmonic of the peak 5 comprising
                                                                    intrinsic frequency    within a specified EEG band of a subject,
                                                                                   determining the Q -factor of the intrinsic fre
intrinsic frequency of a specified EEG band . In some
embodiments , influencing an intrinsic frequency may quency within the specified EEG band of the subject;
include providing a magnetic field having a target frequency comparing the Q -factor of the intrinsic frequency from step
that can be represented in the frequency domain by an 10 healthy    (a ) to an average Q - factor of the intrinsic frequency of a
impulse function. In some embodiments , influencing an frequencypopulation      from    step
                                                                                            database; if the Q - factor of the intrinsic
                                                                                               (a ) is higher than the average Q - factor
intrinsic frequency may include providing a magnetic field of the intrinsic frequency                of the healthy population database ,
having a target frequency having no variation ( standard of tuning           down    the Q  - factor   of the intrinsic frequency of the
deviation around the target frequency is 0 ) . In some embodi subject by applying a magnetic                 field with varying frequen
ments
viding a magnetic field having a target frequency plus or intrinsic frequency from step ( a) ;isandlower
       ,  influencing an intrinsic frequency  may  include  pro- 15 cies  close to  a head  of   the   subject      if the Q -factor of the
                                                                                                                         than the average
minus at most 1 % of the target frequency. In some embodi- Q - factor of the intrinsic frequency of the healthy population
ments, influencing an intrinsic frequency may include pro- database, tuning up the Q - factor of the intrinsic frequency of
viding a magnetic field having a target frequency plus or the subject by applying a specific magnetic field with a
minus    at most 5 % of the target frequency. In some embodi- 20 pre-selected frequency close to a head of the subject. In
ments , influencing an intrinsic frequency may include pro- some embodiments, a NEST device, such as one of the
viding a magnetic field having a target frequency plus or NEST devices (pMERT devices) described herein is used to
minus at most 10% of the target frequency. In some embodi- create the magnetic field of the method .
ments , influencing an intrinsic frequency may include pro-             Provided herein is method of improving coherence of
viding a magnetic field having a target frequency plus or 25 intrinsic frequencies within a specified EEG band among
minus at most 10% of the target frequency. In some embodi- multiple locations of aa brain of aa subject, comprising deter
ments , influencing an intrinsic frequency may include pro- mining the coherence value of the intrinsic frequencies
viding a magnetic field having a target frequency plus or among multiple locations throughout a scalp of the subject;
minus at most 15 % of the target frequency. In some embodi- comparing the coherence value from step ( a) to an average
ments, influencing an intrinsic frequency may include pro- 30 coherence value of a healthy population database ; if the
viding a magnetic field having a target frequency plus or coherence value from step (a ) is higher than the average
minus at most 20 % of the target frequency.                         coherence value of the healthy population database , lower
   Provided herein is a method of treating a subject, com- ing the coherence value of the subject by applying least
prising adjusting output of a magnetic field for influencing two asynchronous magnetic fields close to a head of the
a Q - factor a measure of frequency selectivity of a specified 35 subject; if the coherence value from step (a) is lower than the
EEG band of the subject toward a pre -selected Q - factor of            average coherence value of the healthy population database ,
the band ; and applying said magnetic field close to a head of          raising the coherence value of the subject by applying at
the subject. In some embodiments, a NEST device , such as               least one synchronized magnetic field close to a head of the
one of the NEST devices (pMERT devices) described herein subject. In some embodiments, a NEST device , such as one
is used to create the magnetic field of the method .      40 of the NEST devices (pMERT devices ) described herein is
   Provided herein is a method of treating a subject, com- used to create the magnetic field of the method .
prising adjusting output of a magnetic field for influencing              Provided herein is a method comprising adjusting an
a coherence of intrinsic frequencies among multiple sites in            output current of an electric alternating current source for
a brain of the subject within a specified EEG band toward a             influencing a Q - factor of an intrinsic frequency of an EEG
pre - selected coherence value ; and applying said magnetic 45 band of aa subject toward a target Q - factor, and applying said
field close to a head of the subject. In some embodiments, a output current across a head of the subject.
NEST device , such as one of the NEST devices (PMERT             Provided herein is a method comprising adjusting output
devices) described herein is used to create the magnetic field of a magnetic field for influencing an EEG phase between
of the method .                                                  two sites in the brain of a subject of a specified EEG
   Provided herein is a method of altering an intrinsic 50 frequency toward a pre - selected EEG phase of the specified
frequency of a brain of a subject within a specified EEG EEG frequency; and applying said magnetic field close to a
band , comprising determining the intrinsic frequency of the head of the subject.
subject within the specified EEG band ; comparing the              In some embodiments, the pre - selected EEG phase is
intrinsic frequency from step ( a) to an average intrinsic lower than the EEG phase between the two sites in the brain
frequency of a healthy population database ; if the intrinsic 55 of the subject. In some embodiments, the pre - selected EEG
frequency from step (a ) is higher than the average intrinsic phase is any EEG phase lower than the EEG phase between
frequency of the healthy population database, shifting down the two sites in the brain of the subject. In some embodi
the intrinsic frequency of the subject by applying a specific ments, the pre - selected EEG phase is higher than the EEG
magnetic field close to a head of the subject, wherein said phase between the two sites in the brain of the subject. In
specific magnetic field has a frequency lower than the 60 some embodiments, the pre - selected EEG phase is any EEG
intrinsic frequency of the subject; and if the intrinsic fre- phase higher than the EEG phase between the two sites in
quency from step ( a) is lower than the average intrinsic the brain of the subject. In some embodiments, the pre
frequency of the healthy population database, shifting up the selected EEG phase is an EEG phase of a population of
intrinsic frequency of the subject by applying a specific people. The population of people may be a set of people
magnetic field close to a head of the subject, wherein said 65 having a particular trait, characteristic, ability, or feature .
specific magnetic field has a frequency higher than the The population may be a healthy population of people. The
intrinsic frequency of the subject. In some embodiments, a population of people may be a set of people not having a
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particular disorder, such as anxiety, depression, or other         In some embodiments , of at least one aspect described
disorders mentioned herein . In some embodiments, the above , the pre - selected or target intrinsic frequency with the
methods comprise measuring EEG data of two sites in the specified EEG band is up to about 25 Hz . As used herein , the
brain of the subject, and calculating the EEG phase between term “ about ” when referring to a frequency can mean
the two sites in the brain of a subject.                      5 variations of 0.1 Hz - 0.2 Hz , 0.1 Hz to 0.5 Hz , 0.5 Hz to 1
   In some embodiments, there is no pre - selected EEG HzIn, orsome      1 Hz to 5 Hz .
                                                                               embodiments, the pre -selected and / or target
phase . Rather, the method comprises adjusting output of a
                                                                intrinsic frequency is chosen from a plurality of intrinsic
magnetic field for influencing an EEG phase between two frequencies
sites in the brain of a subject within a specified EEG band ;                  in the specified EEG band . In some embodi
and applying said magnetic field close to a head of the 10 mentschosen from a-selected
                                                                        the pre    pluralityandof/orintrinsic
                                                                                                      target intrinsic frequency
                                                                                                              frequencies  across isa
subject. The EEG phase may be influenced to be lower, or plurality         of EEG bands . In some embodiments the specified
higher.                                                         EEG    band   is the Alpha band . In some embodiments the
   In another aspect are methods for influencing an EEG
phase of a specified EEG frequency between multiple loca 15 specified EEG band is the Beta band.
                                                               In some embodiments of the methods described herein ,
tions of a brain of a subject, comprising determining the the method or methods may comprise locating a first elec
EEG phase the between at least two locations measured on trode operable to detect electrical brain activity on the
the head of the subject; comparing the EEG phase to an subject in an area of low electrical resistivity on a subject.
average EEG phase of a healthy population ; and applying a           In some embodiments of the methods described herein , the
magnetic field close to a head of the subject. Applying the 20 method or methods may comprise locating a first electrode
magnetic field may influences the determined EEG phase               operable to detect electrical brain activity on the subject in
toward the average EEG phase of a healthy population. The            an area with substantially no electrical impulse interference
specified EEG frequency may be an intrinsic frequency as             on a subject. In some embodiments of the methods described
described herein . The specified EEG frequency may be a              herein , the method or methods may comprise locating a first
pre -selected frequency as described herein . The pre- selected 25 electrode operable to detect electrical brain activity on the
frequency may be an average intrinsic frequency of a                 subject in an area having substantially no electrical impulse
healthy population database within a specified EEG band.             interference . In some embodiments of the methods
  In another aspect are methods for using a Transcranial             described herein , the method or methods may comprise
Magnetic Stimulation (TMS ) device for influencing an EEG locating a first electrode operable to detect electrical brain
phase of a subject within a specified EEG band, comprising: 30 activity on the subject in a location having substantially no
adjusting output of said TMS device ; changing the EEG muscle activity . The method or methods may further com
phase by repetitive firing of at least one magnetic field using prise locating a second electrode operable to detect a refer
said TMS vice; and applying said magnetic field close to             ence signal on the subject. The method or methods may
a head of the subject.                                       further comprise determining the intrinsic frequency from :
  In some embodiments , the magnetic field results from a 35 the electrical brain activity detected by the first electrode ,
first magnetic source and a second magnetic source . In some and the reference signal detected by the second electrode .
embodiments, the first magnetic source and the second          In some embodiments of the methods described herein ,
magnetic source are out of phase relative to each other. In the method or methods may comprise locating a first elec
some embodiments, the amount that the first magnetic trode operable to detect electrical brain activity on the
source and the second magnetic source are out of phase 40 subject in at least a portion of the ear canal of the subject.
relative to each other is called the magnetic phase .        The method or methods may further comprise locating a
   In some embodiments of at least one aspect described second electrode operable to detect aa reference signal on the
herein , the step of applying the magnetic field is for a            subject. The method or methods may further comprise
pre -determined cumulative treatment time . In some embodi-          determining the intrinsic frequency from the electrical brain
ments of at least one aspect described above , the pre- 45 activity detected by the first electrode and the reference
selected or target intrinsic frequency with the specified EEG signal detected by the second electrode.
band is from about 0.5 Hz to about 100 Hz . In some                    The method or methods described herein may comprise
embodiments of at least one aspect described above , the applying conductive gel to the area of low electrical resis
pre - selected or target intrinsic frequency with the specified tivity on a subject (i.e. the location at which the first
EEG band is from about 1 Hz to about 100 Hz . In some 50 electrode is placed ). The method or methods described
embodiments of at least one aspect described above , the herein may comprise applying conductive gel to the area
pre - selected or target intrinsic frequency with the specified having substantially no electrical impulse interference on a
EEG band is not greater than about 50 Hz . In some embodi- subject ( i.e. the location at which the first electrode is
ments of at least one aspect described above , the pre- placed) . The method or methods described herein may
selected or target intrinsic frequency with the specified EEG 55 comprise applying conductive gel to the area having sub
band is not greater than about 30 Hz . In some embodiments stantially no muscle activity (i.e. the location at which the
of at least one aspect described above, the pre - selected or first electrode is placed) . Alternatively, or in addition to the
target intrinsic frequency with the specified EEG band is not applying the gel , the method may comprise shaping the first
greater than about 20 Hz . In some embodiments of at least electrode to fit the area at which the first electrode is placed ,
one aspect described above , the pre - selected or target intrin- 60 for non - limiting example, the portion of the ear canal or the
sic frequency with the specified EEG band is not greater than portion of the nasal cavity in which the first electrode is
about 10 Hz . In some embodiments of at least one aspect placed . The electrode may be pre -shaped to generally fit the
described above , the pre - selected or target intrinsic fre- intended anatomical location of electrode placement, or the
quency with the specified EEG band is greater than about 3 electrode may be shaped in - situ to fit the specific subject's
Hz . In some embodiments of at least one aspect described 65 anatomical location of electrode placement. The method
above , the pre - selected or target intrinsic frequency with the may comprise shaping the electrode to fit an anatomical
specified EEG band is greater than about 1 Hz .                      location ( for example, the area at which the first electrode is
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to be placed) . The method may comprise providing an             In some embodiments, the method comprises placing a
electrode that fits an anatomical location ( for example, the second electrode operable to detect a reference signal ,
area at which the first electrode is to be placed) . The first wherein the second electrode is a ground reference . The
electrode may come in multiple sizes to accommodate a method may comprise attaching an ear clip electrode to , for
range of subjects' anatomy. The first electrode may be 5 non - limiting example, a subject's earlobe . The ear clip may
configured such that the subject may place the electrode in be    removable . The method may comprise attaching the
                                                               second electrode to a location showing substantially no EEG
the area having substantially no electrical impulse interfer activity .
ence without assistance from , for non - limiting example, a     Measuring the EEG signal from the subject's brain (i.e.
second person , a trained EEG technician , or a medical 10 measuring EEG data of the subject) may be done prior to
professional.
   The method or methods described herein may comprise and             / or after the application of the magnetic field to the
placing the first electrode in a location having substantially signals .(i.e.Thereceiving
                                 a
                                                                   subject          method may comprise receiving the EEG
                                                                                           the reference signal from the reference
no electrical impulse interference may be aa location having electrode and receiving            the brain activity from the first
substantially  no  muscle   activity. The area having  substan- 15 electrode  )
                                                                              ) prior to application of the magnetic field to the
tially no muscle activity may naturally have substantially no subject's brain ( or a portion thereof ). The method may
muscle activity. The method or methods described herein comprise recording the EEG signals prior to application of
may comprise relaxing the area of the subject at which the the magnetic field to the subject's brain ( or a portion
first electrode is placed by a muscle relaxation means such thereof). The EEG signals ( i.e. receiving the reference signal
as by, for non- limiting example, injecting with a substance 20 from the reference electrode and receiving the brain activity
that relaxes the muscles in the area , applying a topical from the first electrode) received and / or recorded prior to
substance that relaxes the muscles in the area , and / or by application of the magnetic field to the subject's brain ( or a
providing an ingestible muscle relaxation substance to the portion thereof) may be used in determining at least one of
subject that relaxes the muscles in the area . The method or the intrinsic frequency of a specified EEG band of the
methods described herein may comprise paralyzing the area 25 subject, the Q - factor of an intrinsic frequency of a specified
of the subject at which the first electrode is placed by a EEG band of the subject, the phase of the intrinsic frequen
muscle paralysis means such as by, for non- limiting cies of a specified EEG band of the subject, and the
example, and / or injecting with aa substance that substantially coherence of the intrinsic frequencies of a specified EEG
paralyzes the muscles in the area, applying a topical sub- band ofthe subject measured at multiple brain locations . The
stance that substantially paralyzes the muscles in the area . 30 method may comprise receiving the EEG signals (i.e. receiv
   While an anatomical location of substantially no electrical ing the reference signal from the reference electrode and
impulse interference, and/ or a location having substantially receiving the brain activity from the first electrode) follow
no muscle activity (but where brain activity may be mea- ing (or after ) application of the magnetic field to the sub
sured) may provide a clearer EEG signal resulting in less ject's brain ( or a portion thereof). The method may comprise
noise and reduced resistivity from the skull, nevertheless, 35 recording the EEG signals (i.e. the reference signal from the
the methods provided herein may comprise placing the first reference electrode and the brain activity from the first
electrode on the scalp ( either directly, and / or with hair electrode) following or after application of the magnetic
between the scalp and the electrode ). The methods provided field to the subject's brain (or a portion thereof). The EEG
herein may comprise placing a plurality of electrodes on the signals received and / or recorded ( i.e. the reference signal
scalp for coherence measurement, intrinsic frequency mea- 40 from the reference electrode and the brain activity from the
surement, and / or Q - factor measurement. The methods pro- first electrode ) following ( or after ) application of the mag
vided herein may comprise filtering from the signal (or netic field to the subject's brain (or a portion thereof) may
signals ) received from the EEG electrodes noise from scalp be used in determining at least one of the post- treatment
movement and / or resistivity from the skull. The methods intrinsic frequency of a specified EEG band of the subject,
provided herein may comprise smoothing the signal curve 45 the post- treatment Q - factor of an intrinsic frequency of a
received and / or determined from the EEG electrodes . The         specified EEG band of the subject, the post -treatment phase
methods provided herein may comprise determining from              of the intrinsic frequencies of a specified EEG band of the
multiple signal recordings: a coherence measurement, an            subject, and the post - treatment coherence of the intrinsic
intrinsic frequency measurement, and / or a Q - factor mea- frequencies of a specified EEG band of the subject measured
surement using any of the EEG recording means noted 50 at multiple brain locations . Determining the intrinsic fre
herein . An EEG electrode cap may be used , and signals from quency may comprise removing the reference signal
one or more electrodes of the cap may be used as described       detected by the second electrode from the electrical brain
herein to determine an intrinsic frequency, a Q - factor, or     activity detected by the first electrode. Determining the
coherence.                                                       Q - factor of an intrinsic frequency of the specified EEG band
    The area of the scalp upon which the first EEG electrode 55 comprises ascertaining the Q - factor from the electrical brain
( or the plurality of electrodes) is / are placed may be induced activity detected by the first electrode and the reference
to have less muscle activity, or it may naturally have less signal detected by the second electrode by removing the
muscle activity than other areas on the scalp . Inducing less reference signal detected by the second electrode from the
muscle activity in the area of the scalp may be achieved in electrical brain activity detected by the first electrode and
various ways . For non -limiting example, the methods may 60 calculating the Q - factor from the intrinsic frequency fo and
comprise relaxing the area where the first electrode is            the Af as shown in FIG . 12 .
placed , for non- limiting example, by injecting the area with rTMS Therapy
a substance that relaxes ( and / or paralyzes) the muscles in the    Repetitive Transcranial Magnetic Stimulation (rTMS )
area, applying a topical substance that relaxes ( and / or para- refers to uses of a magnetic field administered in very short
lyzes ) the muscles in the area , and / or by providing an 65 grouped pulses (microseconds in length ) to a patient's head
ingestible muscle relaxation substance that relaxes the to achieve a constant train of activation over brief periods of
muscles in the area .                                             a treatment session . These brief magnetic fields can stimu
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late small areas of the brain non - invasively. During a single       In some embodiments , negative symptoms include , but
session , about 3,000 magnetic pulses can be given over an not limited to , loss of motivation , anhedonia , emotional
interval of about 30 minutes.                                      flattening, and psychomotor retardation . These negative
   The short pulses of magnetic energy generated by rTMS symptoms can be associated with patient's cognitive deficits
devices can stimulate nerve cells of the brain, often at 5 and poorer clinical prognosis, and often resistant to antip
frequencies close to thresholds of exciting brain cells . Mag- sychotic medications. See Gasquet et al . , Pharmacological
netic fields generated by rTMS devices can pass through the treatment and other predictors of treatment outcomes in
skull and into the cortex without being distorted . The result previously untreated patients with schizophrenia : results
is a very focal type of stimulation , minimizing stimulation of from the European Schizophrenia Outpatient Health Out
brain tissue not intended to be stimulated .                    10 comes (SOHO) study. Int Clin Psychopharmacol. 20 : 199
  The magnetic pulses generated by rTMS devices are              205 ( 2005 ) , which is incorporated by reference in its
generally believed to induce electrical charges to flow . The    entirety.
amount of electricity created in the brain is very small , and   CES Therapy
can not be felt by the patient. These flowing electric charges      Cranial Electrotherapy Stimulation (CES ) is a method of
can cause the neurons to fire or become active under certain 15 applying microcurrent levels of electrical stimulation across
circumstances. Typically, an objective of rTMS Therapy is        the head via transcutaneous electrodes. Provided herein is
to stimulate ( or activate ) brain cells .                       method including applying an electric alternating current
   Jin Y et al . Therapeutic effects of individualized alpha     (AC ) across ?a head of a subject, and adjusting and / or varying
frequency transcranial magnetic stimulation ( alphaTMS ) on      the frequency of the AC current to effect at least one of a
the negative symptoms of schizophrenia. Schizophr Bull. 20 characteristic, mental disorder, and an indication presented
32 (3 ) : 556-61 (2006 July ; Epub 2005 Oct. 27 ) , which is herein . In some embodiments , the AC current is a micro
incorporated by reference in its entirety, described four current.
stimulation parameters that require optimization for rTMS:      Provided herein is a method comprising adjusting an
( a) Frequency – Higher frequencies (> 10 Hz) are believed to output of an electric alternating current source for influenc
increase cortical excitability ;                               25 ing an intrinsic frequency of a EEG band of a subject toward
(b ) Intensity - As a percentage of the threshold at which a target frequency of the EEG band; and applying said
motor activity can be elicited ( ~ 1-2 Tesla );                   electric alternating current across a head of the subject. In
( c ) Duration Pulse trains are brief ( 1-2 seconds ) , and some embodiments of the methods, a CES therapy is used to
intertrain intervals can be 30-60 seconds ; and                   influence the intrinsic frequency of a patient's brain toward
( d ) Site of Stimulation Depending on patient population or 30 a target frequency as measured by EEG .
specific brain functions.                                            Provided herein is a method comprising adjusting an
     In some embodiments, severity of psychosis, depression, output current of an electric alternating current source for
and movement disorders can be assessed with                       influencing an intrinsic frequency of an EEG band of a
Montgomery - Asberg Depression Rating Scale ( MADRS ) , subject toward a target frequency of the EEG band; and
Barnes Akathisia Rating Scale ( BARS ) , and Simpson -Angus 35 applying said output current across a head of the subject. In
Scale ( SAS ) , as described by Jin Y et al . above . In some some embodiments, the step of adjusting the output current
embodiments, severity of psychosis , depression, and move- comprises setting the output current to a frequency that is
ment disorders can be assessed with the Hamilton Anxiety lower than the intrinsic frequency of the subject. In some
Scale (HAMA ), the Hamilton Depression Scale ( HAMD ) , or embodiments, the step of adjusting the output current com
any methods known in the art. In some embodiments , 40 prises setting the output current to a frequency that is higher
efficacy in clinical ratings can be evaluated by using analy- than the intrinsic frequency of the subject. In some embodi
ses of variance ( ANOVA ) as described by Jin Y et al . above . ments, the step of adjusting the output current comprises
In some embodiments , raw EEG data can be edited offline          setting the output current to the target frequency. In some
by an experienced technician who is blind to the treatment embodiments, the method further comprises determining the
conditions to eliminate any significant or apparent artifact as 45 intrinsic frequency of the EEG band of the subject; and
described in Jin Y et al . above . In some embodiments,           comparing the intrinsic frequency to the target frequency of
multivariate analysis of variance (MANOVA ) with repeated        the EEG band, wherein the target frequency is an average
measures can be used to determine the main effect interac        intrinsic frequency of the EEG bands of a healthy population
tions as described in Jin Y et al . above .                      of people , wherein if the intrinsic frequency is higher than
  Since EEG changes can be direct consequences of treat- 50 the target frequency, the step of adjusting the output current
ments using the methods or devices described herein , those comprises setting the output current to a frequency that is
EEG changes can be used to clinically correlate improve- lower than the intrinsic frequency of the subject, and if the
ment in symptoms of mental disorders. Improvement in intrinsic frequency is lower than the target frequency, the
symptoms can include positive symptoms and negative step of adjusting the output current comprises setting the
symptoms. In some embodiments, the EEG changes after 55 output current to a frequency that is higher than the intrinsic
using the methods or devices described correlated to both frequency of the subject.
positive symptoms and negative symptoms. In some             Provided herein is a method comprising adjusting an
embodiments, the EEG changes after using the methods or output of an electric alternating current source for influenc
devices described correlated to only positive symptoms. In ing a Q - factor a measure of frequency selectivity of a
some embodiments, the EEG changes after using the meth- 60 specified EEG band of a subject toward a target Q - factor of
ods or devices described correlated to only negative symp the
toms . In some embodiments, correlations between EEG acrossband      ; and applying said electric alternating current
                                                                  a head of the subject. In some embodiments of the
changes and improvement in negative symptoms are only
significant in the absence of positive symptoms. In some methods, a controlled waveform CES therapy is used to
embodiments, correlations between EEG changes and 65 influence a Q - factor of an intrinsic frequency of a patient's
improvement in positive symptoms are only significant in         brain . FIG . 12 shows an example of the Q -factor as used in
the absence of negative symptoms.                                this invention . The figure shows a sample graph of the
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frequency distribution of the energy of an EEG signal. It can                               EXAMPLES
be seen that a frequency range, Af can be defined as the
frequency bandwidth for which the energy is above one -half            The invention is described in greater detail by the fol
the peak energy. The frequency f , is defined as the intrinsic 5 lowing non - limiting examples .
frequency in the specified band . The Q - factor is defined as                              Example 1
the ratio of fj/Af. As can be seen, when AF decreases for a
given fo, the Q - factor will increase . This can occur when the       In some embodiments, described are devices that provide
peak energy Emar of the signal increases or when the low frequency near - sinusoidal TMS therapy by rotating at
bandwidth of the EEG signal decreases .                          10
                                                                    least one permanent magnet in close proximity to the
   Provided herein is a method comprising adjusting an subject's head . The direction of rotation relative to the
output current of an electric alternating current source for subject can vary depending on the specific therapy desired .
influencing a Q - factor of an intrinsic frequency of an EEG Also , the speed of rotation can be adjusted to provide the
band of a subject toward a target Q - factor; and applying said 15 optimal therapeutic benefit. The speed adjustment itself can
output current across a head of the subject. In some embodi come from the user of the device or from a controller that
ments, the step of adjusting the output current comprises uses feedback from a bio - sensor to determine the optimal
varying a frequency of the output current. In some embodi speed .
ments , the step of adjusting the output current comprises at Intheparticular      embodiments, a bar magnet can be mounted
                                                                            end of the shaft with the line through the poles
setting the output
the intrinsic      currentof theto asubject
              frequency               frequency  that embodiments
                                           . In some  is higherthan, 20 perpendicular to the axis of the shaft. The shaft canbe
the step of adjusting the output current comprises setting the     rotated by an adjustable motor. The magnet can rotate so that
output current to a frequency that is lower than the intrinsic     the plane of rotation is perpendicular to the surface of the
                                                                   scalp . Accordingly, the positive and negative poles of the
frequency of the subject. In some embodiments, the step of         magnet can be alternately brought in close proximity to the
adjusting the output current comprises setting the output 25 scalp. This can create a near - sinusoidal magnetic field in the
current to the target frequency. In some embodiments, the          brain in which the location where the field is strongest is that
method further comprises determining the Q - factor of the         which is closest to the magnet.
intrinsic frequency of the EEG band of the subject; and
comparing the Q - factor to the target Q - factor, wherein the                                 Example 2
target Q - factor is an average Q - factor of the intrinsic fre- 30
quencies of the EEG bands of a healthy population of                   In particular embodiments, a horseshoe magnet can be
people , wherein if the intrinsic frequency is higher than the mounted at the end of the shaft with the poles positioned at
target frequency , the step of adjusting the output current the far end from the shaft. The shaft can be rotated by an
comprises varying a frequency of the output current, and if adjustable motor, as in the previous example. The magnet
the intrinsic frequency is lower than the target frequency, the 35 can   beofpositioned  above the subject's scalp such that the
step of adjusting the output current comprises setting the plane               rotation is parallel to the surface of the scalp .
output current to a frequency that is higher than the intrinsic Accordingly
                                                                    circle around
                                                                                 , the positive and negative poles can rotate in a
                                                                                    the scalp . This can create a sinusoidal mag
frequency of the subject.                                           netic field in the brain in which the phase of the magnetic
  In some embodiments, the frequency of the output current 40 field is dependent on where the magnetic poles are in their
has a waveform . In some embodiments , the waveform is a           rotation . In general, the magnetic field under one pole will
sinusoidal or near - sinusoidal AC microcurrent waveform           be of opposite polarity to the magnetic field under the
( i.e. a controlled waveform ). In some embodiments, the           opposite pole.
waveform is any waveform described herein , including but                                    Example 3
not limited to a half waveform and /or a full waveform . In 45
some embodiments, the EEG band is the alpha band mea                  In particular embodiments, two bar magnets can be used ,
                                                                                                  2
sured by EEG . In some embodiments, the intrinsic fre              each mounted at the end of aa shaft . The shafts can be rotated
quency is the alpha frequency of the patient's brain mea by adjustable motors . The magnets can be positioned on
sured by EEG . In some embodiments, the target frequency 50 opposite sides of the subject's head , and they are rotated
is a target frequency of the alpha band as measure by EEG . synchronously to provide a more uniform phase for the
In some embodiments the target frequency is an average magnetic field in the brain . When the north Pole of one bar
frequency of a group of at least two people of the specified magnet is next to the subject's scalp , the south Pole of the
                                                             other magnet will be next to the subject's scalp on the
EEG band . In some embodiments, the healthy population of 55 opposite
people comprises at least two healthy people . In some                side of the subject's head .
embodiments, the healthy population of people comprises at                                   Example 4
least two people , each of whom do not have at least one of
the mental disorders listed above . In some embodiments, the     In particular embodiments, the NEST ( PMERT) device is
healthy population of people comprises at least two people 60 a small , generally cube - shaped device with one side that is
without any of the mental disorders listed above .            curved to allow contact with the top of the subject's head .
   It will be understood by those of skill in the art that FIGS . 7-9 show the NEST (pMERT) device in such embodi
numerous and various modifications can be made without ments, and also show the NEST (PMERT) device with a
departing from the spirit of the present invention . Therefore, subject lying on his /her back with his /her head resting in the
it should be clearly understood that the forms of the present 65 device to receive therapy.
invention are illustrative only and are not intended to limit      FIGS . 7 , 8 , and 9 show an exemplary embodiment of the
the scope of the present invention .                             PMERT (NEST) device 88. In this embodiment, a button
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EEG electrode 82a is located on the concave surface of the         and be given a username and password. When a psychiatrist
device 88 and a second reference electrode 82b extends via         sees a patient with a disorder and the psychiatrist feels that
a wire from the side of the device 88. The display 64 and          the patient could benefit from the methods or devices
control buttons 86 ( device controls ) are located on top of the   described herein , the psychiatrist either orders a device or
device 88 to provide information and allow the user to adjust 5 selects one that has been pre -purchased .
parameters and enter patient data . A USB port 84 (which             The psychiatrist ( or administrative assistant) can plug a
may also and /or aalternatively be at least one of an internet PMERT (NEST) device into a USB port on a PC connected
connection port, a power supply, a modem connection , and to an internet. Using web access and their username/pass
another type of communications means ) is located at the top word , the psychiatrist can login to the NeoSync website . The
rear of the device 88 , to allow it to be connected via a USB 10 pMERT (NEST) will be automatically detected by the
cable to a PC , allowing uploading of data and downloading NeoSync website , and any necessary software upgrades will
of a dosage quota . FIG . 8 shows the PMERT (NEST ) device be downloaded .
88 from FIG . 7 in which a subject 6 is lying with his /her          The psychiatrist can then order aa number of dosage quotas
head against the concave surface of the device 88. At least for a particular disorder from the website , such as 15
one moving magnet is unseen inside the pMERT (NEST) 15 20 -minute therapy treatment, one per day, to treat depres
device 88 in order to deliver therapy to the subject 6. Moving sion . An encrypted key will be downloaded to the PMERT
magnets such as those in configurations described herein (NEST ), which will be set to allow the dosage quotas
may be used in the device 88 shown in FIGS . 7 , 8 , and 9. The requested by the psychiatrist. Once this occurs , the psychia
subject's head is pressed against the button EEG electrode trist will automatically be billed based on the number and
( not shown ), with the second electrode 82b attached to the 20 type of dosage quotas. The psychiatrist will then bill the
subject's right ear. FIG . 9 shows an alternate angle of the patient ( or eventually the patient's insurance ) for the pro
subject 6 receiving therapy from the PMERT (NEST ) device cedure. The patient can take the pMERT (NEST) device to
88 as described in FIG . 7 and / or FIG . 8 .                     his /her home to use the device in accordance with the
    In these particular embodiments, the PMERT as shown in therapy prescribed by the psychiatrist or the patient can be
FIGS . 7-9 contains a single EEG lead ( i.e. electrode) which 25 treated in the psychiatrist's office.
is to be placed at the top of the subject's head . Alternatively,    Once the patient has used up all the dosage quotas the
multiple EEG electrodes may be used in recording and / or psychiatrist has loaded onto the device, the patient returns to
monitoring the subject's brain waves at least one of before, the psychiatrist with the pMERT (NEST) device . The psy
during, and after the therapy is applied to the subject. The chiatrist will connect the PMERT (NEST ) device to the PC
subject or nurse can prepare the EEG leads ( and /or elec- 30 via a USB cable and will login to the NeoSync website as
trodes) with an electrolytic gel beforehand to lower the before. The website will detect the PMERT (NEST ) and will
impedance. The reference electrode can be placed on the upload all treatment information . A report can be generated
subject's ear. In some embodiments, the reading from a with this information , giving the psychiatrist a quantitative
reference EEG electrode is subtracted and / or otherwise indication of progress . The report can include for each
removed from the reading from the second EEG electrode. 35 treatment the date , start time , end time , initial EEG alpha
   When therapy is needed , the subject or nurse can follow parameters (i.e. , power and Q -factor), and the final EEG
the instructions on the display, which will provide a walk- alpha parameters. The psychiatrist can print the report or
through of the EEG electrode preparation. Once complete save it to a file to be placed in the patient's record . At this
and the patient is situated in the device , the EEG is checked point, the psychiatrist can clear the memory of the device
by the pMERT to ensure that the electrode is placed cor- 40 and use it for another patient or he /she can order more
rectly. If not, an audible tone or instruction is given to allow dosage quotas for the current patient.
the patient to resituate himself/ herself until proper contact is   If the psychiatrist decides that the patient should use the
made .                                                            PMERT (NEST) for a longer period, the psychiatrist can set
   Once contact is made, the patient lies still with eyes up an account for the patient with NeoSync, Inc. This way ,
closed while the pMERT (NEST) acquires a representative 45 the patient is able to order more dosage quotas without
EEG sample. The EEG data is analyzed and, depending on returning to the psychiatrist. Only the dosage quotas
the therapy to be delivered, the magnet or magnets are approved by the psychiatrist will be allowed for the patient
rotated at the appropriate speed . The patient does not feel to order. The patient can pay NeoSync directly with a credit
anything during the procedure , except for a diminution of card or ( eventually ) insurance. For each session, the psy
the symptoms of the disorder, and perhaps a feeling of calm . 50 chiatrist may also be paid . The psychiatrist would have
During therapy, the device may sample the EEG data either          access to all reports uploaded from the PMERT (NEST ) via
by subtracting out the influence of the magnet or by tem-          the website .
porarily halting the magnet while the EEG data is sampled .
The display is used to show time remaining and any other                                     Example 6
necessary status information for the device . After the therapy 55
time , the magnet stops and a second EEG is taken , to be             Each patient admitted to the study is randomly assigned
compared to the first EEG . Upon completion of the second into one of the two study groups based on treatment using a
EEG acquisition , an audible signal is given to indicate end plugged PMERT (NEST) device and sham , where a PMERT
of therapy.                                                        (NEST) device rotates a non -magnetic metal block instead
                                                                60 of a magnet. Patients are kept blind to the treatment condi
     Example 5 Purchasing Dosage Quotas and Report                 tion . Each treatment consists of 22 daily sessions during a
                         Generation                                30 -day period ( and /or at least 10 sessions during a 2 week
                                                                   period or more) . Patients ' current antipsychotic treatments
  The methods and devices described are intended to be             are kept unchanged during the study.
used by psychiatrists/ therapists to treat patients with mental 65 EEG data during treatments are recorded and individual
disorders. Psychiatrists who take advantage of this therapy        ized according to the alpha EEG intrinsic frequency ( 8-13
can register accounts with aa vendor of the devices described      Hz ) . The precision of the stimulus rate can be refined to the
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level of 10% of a hertz . It is determined on each patient's treatment and stimulus location effects . Change score for
                   a
average alpha frequency, obtained from 3 central EEG leads each variable before and after pMERT (NEST) treatment is
( C3 , C4 , and Cz ) . EEG data during treatments are recorded used to correlate with the change score of each clinical
from each subject in a supine position with their eyes closed measure from the same time points.
throughout the testing period. Nineteen EEG electrodes 5 FIG . 12 shows an example of the Q - factor as used in this
( Ag - Ag Cl ) are used according to the International 10-20 invention . The figure shows a sample graph of the frequency
system and referenced to linked mastoids . Electrooculo distribution                       of the energy of an EEG signal . It can be seen
grams (EOGs ) from the outer canthus of both eyes are that                         a frequency range , Af can be defined as the frequency
recorded simultaneously to monitor eye movements . At least bandwidth                     for which the energy is above one-half the peak
                                                                           energy . The frequency f, is defined as the intrinsic frequency
two
12 -bitminutes   of EEG/digital
         A / D ( analog   epochs) converter
                                    are collected
                                             at theand
                                                    ratedigitized
                                                         of 200 Hzbybya 10 foin /Af
                                                                                 the specified band .The Q - factor is defined as the ratio of
a Cadwell EZ II acquisition system . Sixty seconds of artifact Q -factor           . As can be seen, when AF decreases for a given fo, the
free epochs are utilized for fast Fourier transformations Emax of the                  will increase. This can occur when the peak energy
                                                                                           signal increases or when the bandwidth of the
( FFT ) . FFT window is set at 512 data points with 80 % EEG signal decreases .
overlap                                                                 15
   Severity of psychosis , depression, and movement disor                            Example 7 : Effect of NEST Device Lowering
ders are assessed with the Hamilton Anxiety Scale (HAMA) ,                                           Blood Pressure
the Hamilton Depression Scale ( HAMD ) , PANSS, Mont
gomery - Asberg Depression Rating Scale (MADRS ), Barnes                    An effect of use of a NEST (i.e. PMERT) device using a
Akathisia Rating Scale (BARS) , and Simpson - Angus Scale 20 method provided herein was shown to lower blood pressure
( SAS ) , respectively. All rating scales and EEGs are admin-     in a female patient. The patient, originally using a NEST to
istered at screening, baseline ( immediately prior to first       treat anxiety, complained of a moderate tension headache
treatment), immediately following the fifth and tenth treat-      and her blood pressure was taken , and read at 110/90 mmHg.
ments .                                                           A NEST device was set at a fixed specified frequency equal
   While the technician administering the PMERT (NEST) 25 tomagnetic an intrinsic
                                                                             field frequency
                                                                                   emanatingwithin    herdevice
                                                                                                from the  alpha EEG   band andto the
                                                                                                                 was applied      the
device cannot be blinded , the evaluating physicians and patient's          head ( cerebral cortex ). During treatment using the
EEG technicians remain unaware of the type of treatment NEST device               , three consecutive blood pressure measure
throughout the duration of study. A priori categorical defi ments were taken            at ten minute intervals, showing 110/85
nition for clinical response is >30% baseline -to - post treat mmHg, 100/82 mmHg            , and 100/70 mmHg, respectively . An
ment  reduction  at
symptom subscale .  the end of treatment on PANSS     negative 30 hour after  treatment   with   the NEST device had ceased, the
   Patients with a baseline and at least 1 additional set of      patient's tension   headache    returned, and her blood pressure
                                                                         was measured , reading 110/90 mmHg .
completed assessments (at least 5 treatment sessions ) are
included in the analysis of mean treatment effect. Efficacy in                                  Example 8
clinical ratings is evaluated by using analyses of variance 35
( ANOVA ) with repeated measure over time . The models            In particular embodiments, a single cylindrical magnet
include 2 between -subject factors of treatment and location , that is diametrically magnetized (pole on the left and right
and 1 within -subject factors of time . Effect of concomitant sides of the cylinder) spins about the cylinder axis . The
antipsychotic treatment can be tested based on the catego- magnet can be placed anywhere around the patient's head ,
rization of typical and atypical neuroleptic medications. 40 and locations can be chosen based on the desire for a more
Grouping differences of all other measures are tested indi-              focal therapy at a particular location . Alternative embodi
vidually using the same statistical model . Using a predefined           ments can include stringing two or more cylindrical magnets
response criterion, a contingent table analysis can be used to           together on the same shaft, or along different shafts, to spin
test the group difference in responding rate .                           the magnets in unison to create a particular magnetic field in
   Raw EEG data are edited offline by an experienced 45 treating the patient. A non - limiting examples of this are
technician who is blind to the treatment conditions to                   found in FIGS . 13 through 15 .
eliminate any significant ( 23 arc) eye movements or any           FIG . 13 shows an example embodiment of a diametrically
other type of apparent artifact. Ten to twenty - four artifact- magnetized cylindrical magnet 2 for use in a NEST device .
free epochs ( 1,024 data points per epoch ) in each recording FIG . 14 shows an example embodiment of a NEST device
channel are calculated by a fast Fourier transform (FFT ) 50 applied to a subject 1406 , the device having a diametrically
routine to produce a power spectrum with 0.2 Hz frequency magnetized cylindrical magnet 1402 and aa drive shaft 1404
resolution . The intrinsic frequency of alpha EEG is defined that rotates the magnet 1402 about its cylinder axis , wherein
as the mean peak frequency (Fp ) of 3 central leads (C3 , C4 , the cylinder axis coincides with rotation axis 1438. FIG . 15
and Cz ). EEG variables used in the analysis included power shows an example embodiment of a NEST device applied to
density (Pwr), peak frequency (Fp) , Fp longitudinal coher- 55 a subject 1506, the device having two diametrically mag
ence , and frequency selectivity ( Q ) . See Jin Y et al . Alpha netized cylindrical magnets 1502a , 1502b and a drive shaft
EEG predicts visual reaction time . Int J Neurosci. 116 : 1404 that simultaneously rotates the magnets 1502a , 1502b
1035-44 (2006 ) , which is incorporated by reference in its about their cylinder axes , wherein the cylinder axes are
entirety .                                                       coincident with each other and with rotation axis . In this
   Coherence analysis is carried out between Fz and Pz in the 60 example embodiment device, the north pole of magnet
peak alpha frequency. Recording from Cz is chosen to 1502a and the north pole of magnet 1502b are aligned to
calculate the Q - factor (peak freq/half -power bandwidth ), a provide a more uniform magnetic field to the subject 1506 .
measure of the alpha frequency selectivity. It is measured in
the frequency domain by using a 60 sec artifact free EEG                                 Example 9
epoch and a 2,048 data point FFT with a 10 -point smooth 65
procedure . Multivariate analysis of variance (MANOVA )            In particular embodiments, multiple cylindrical magnets
across all channels for each variable is performed to test the can be arrayed above a patient's head so they spin in unison .
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These may be connected to each other by belts or gears so pulley unshown in FIG . 17 ) of the tensioner assemblies
that they are driven by at least one motor. Non- limiting 1708a , 1708b are rotatably mounted ( coupled ) to at least one
examples of these embodiments are shown in FIGS . 16 of the side supports 1722 , 1720 , such that each of the
through 21 .                                                      tensioner drive pulleys 1714a , 1714b , 1714c , ( and one
   FIG . 16 shows an example embodiment of a NEST device 5 tensioner drive pulley unshown in FIG . 17 ) can rotate about
having three diametrically magnetized cylindrical magnets their rotation axes (not shown) without motion of the side
1602a , 1602b , 1602c rotating about their cylinder axes and supports 1722 , 1720.
applied to a subject 1606. The poles of each the magnets            For example, drive belt 1718a wraps at least partially
1602a , 1602b , 1602c of the shown device are aligned around the magnet drive pulley 1716a of magnet 1702a , and
generally to provide a peak magnetic field to the subject 10 also wraps at least partially around the tensioner drive pulley
1606 that is coincident with the peak magnetic fields deliv- 1714a of the first tensioner assembly 1708a . The drive shaft
ered to the subject 1606 from each of the other magnets 1704 , coupled to a motor ( not shown ), drives the rotation of
1602a , 1602b , 1602c . Another way of saying this is that each all of the magnets 1702a , 1702b , 1702c of the shown device
of the magnets 1602a, 1602b , 1602c has a neutral plane 1788. The drive shaft 1704 is coupled to a first magnet
indicated by the dotted line on each of magnets 1602a , 15 1702a which, through its magnet drive pulley 1716a and
1602b , and 1602c , and each the neutral planes is aligned to associated belt 1718a turns the first tensioner drive pulley
be generally parallel to the scalp of the subject 1606. This 1714a of the first tensioner assembly 1708a . The first
configuration provides a more uniform field to the subject tensioner drive pulley 1714a of the first tensioner assembly
1606 than if the magnets 1602a , 1602b , 1602c are not 1708a is coupled to the second tensioner pulley (not shown
aligned in such a manner.                                      20 obscured by side support 1722 ) of the first tensioner assem
   FIG . 17 shows an example embodiment of a NEST device bly 1708a , and, thus, when the first tensioner pulley 1714a
1788 having three diametrically magnetized cylindrical is turned by the first drive belt 1718a , the second tensioner
magnets 1702a , 1702b , 1702c configured to rotate about pulley (not shown) is also turned . Since the second drive belt
their cylinder axes ( not shown) . Each of the magnets 1702a , 1718b is wrapped at least partially around the second
1702b , 1702c of this example embodiment is coupled to at 25 tensioner pulley ( not shown) as well as the second magnet
least one magnet drive pulley 1716a , 1716b , 1716c , 1716d . drive pulley 1716b of the second magnet 1702b , the motion
Each of the magnet drive pulleys 1716a , 1716b , 1716C , of the second tensioner pulley ( not shown ) moves the second
1716d has at least one drive belt 1718a , 17186 , 1718c , drive belt 1718b and likewise drives the rotation of the
1718d wrapped at least partially about it . The device 1788 second magnet 1702b . The second magnet 1702 has aa third
also comprises two tensioner assemblies 1708a , 1708b , each 30 magnet drive pulley 1716C which is coupled to the second
comprising a tensioner block 1710a , 1710b , a tensioner arm drive pulley 1716b , and the third drive belt 1718c wraps at
1712a , 1712b , and at least one tensioner drive pulley 1714a , least partially around the third magnet drive pulley 1716c ,
1714b , 1714c each rotating about an axis going through the             motion of the second drive belt 1718b also causes
tensioner arm 1712a , 1712b , respectively, the axis generally motion of the third drive belt 1718c wrapped at least
being parallel to the rotation axis of the magnets and to the 35 partially around the third magnet drive pulley 1716c . The
drive shaft 1704 of the device 1788. In the embodiment            motion of the third drive belt 1718c , also wrapped at least
shown in FIG . 17 , each of the tensioner assemblies has two      partially around the third tensioner pulley 1714b of the
tensioner drive pulleys 1714a , 1714b , 1714c , ( one tensioner   second tensioner assembly 1708b thus drives the rotation of
drive pulley of tensioner assembly 1708 is not shown in FIG . the fourth tensioner pulley 1714c of the second tensioner
17 / obscured by the side support 1722 , but can be seen , for 40 assembly 1708b which is coupled to the third tensioner
example , in FIG . 18 ) . The drive belts 1718a , 1718b , 1718c , pulley 1714b of the second tensioner assembly 1708b .
1718d are each also wrapped at least partially about at least Furthermore, since the fourth drive belt 1718d is wrapped at
one tensioner drive pulley 1714a , 1714b , 1714c , ( one ten- least partially around the fourth tensioner pulley 1714c of
sioner drive pulley of tensioner assembly 1708 is not shown the second tensioner assembly 1708b , and is also wrapped at
                                                                                                      2

in FIG . 17 — obscured by the side support 1722 ) , such that 45 least partially around the fourth magnet pulley 1716d of the
each the drive belts 1718a , 1718b , 1718c , 1718d is wrapped third magnet 1702c , the motion of the fourth drive belt
at least partially around at least one of the magnet drive 1718d drives the rotation of the third magnet 1702c simul
pulleys 1716a , 1716b , 1716c , 1716d and is also wrapped at taneously with the rotation of the other two magnets 1702a ,
least partially around at least one of the tensioner drive 1702b.
pulleys 1714a , 1714b , 1714c , (one tensioner drive pulley of 50 In an alternative embodiment, the tensioner assemblies
tensioner assembly 1708 is not shown in FIG . 17obscured are not present, and the drive shaft drives the magnets
by the side support 1722 , but can be seen, for example, in connected only to each other using drive belts . In an
FIG . 18 ) of the tensioner subassemblys 1708a , 1708b .           alternative embodiment, only one tensioner assembly is
   The device 1788 shown in FIG . 17 is held together by two present and is coupled to at least two magnets. In an
side supports 1722 , 1720 connected by a support column 55 alternative embodiment, only one tensioner assembly is
1724a . In some embodiments, a second support column present and is coupled to each of the magnets. In an
1724b , a third support column (not shown) may also connect alternative embodiment, the magnets are coupled to each
the side supports 1722 , 1720. Each of the tensioner assem- other by gears. In an alternative embodiment, the magnets
blies 1708a , 1708b and each of the magnets 1702a , 1702b , are coupled to each other by a combination of at least one
1702c are mounted to (coupled to ) at least one of these 60 gear and at least one belt . In an alternative embodiment, the
supports, if not both the side supports 1722 , 1720. Each of magnets are coupled to each other by a combination of at
the magnets 1702a , 1702b , 1702c are rotatably mounted to least one gear and at least two belts , wherein each belt is
at least one of the side supports 1722 , 1720 , such that each coupled to a tensioner assembly as generally described
of the magnets 1702a , 1702b , 1702c can rotate about their herein . In an alternative embodiment, the magnets are
rotation axes ( cylinder axes ) without motion of either of the 65 coupled to each other by a rotation means , wherein the
side supports 1722 , 1720. Likewise , at least the tensioner      rotation means is configured to drive the rotation of the
drive pulleys 1714a , 1714b , 1714c , ( and one tensioner drive   magnets simultaneously.
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   The tensioner assemblies in the embodiments shown in                Also shown in FIG . 18 are support screws 1826a , 1826b
FIG . 17 , FIG . 18 , and FIG . 19 , for non - limiting example, are which attach the support columns 1824b (other support
configured to keep the drive belts taut during use and , columns are either not called - out or not shown in FIG . 18 )
therefore, ensure that the rotation of the magnets is simul- 5 to the side support 1822 and / or to the side support 1820 .
taneous and generally in -phase as applied to the subject               FIG . 19 shows the example NEST device embodiment of
where the magnets are aligned such that each of the neutral FIG . 17 and /or of FIG . 18 having three diametrically mag
planes of each of the three magnets are generally aligned to netized cylindrical magnets 1902a , 1902b , 1902c configured
be parallel to the scalp of the subject.                             to rotate about their cylinder axes and including a frame
   FIG . 18 depicts an exploded view of the example embodi 1934 and base 1936 for mounting the NEST device . The
ment of the NEST device 1888 of FIG . 17 having three 10 embodiment  having three shown
                                                                                    magnetsin 1902a
                                                                                              FIG. , 191902b
                                                                                                         includes
                                                                                                              , 1902ca ,NEST   device
                                                                                                                         each having
diametrically magnetized cylindrical magnets configured to magnet
rotate about their cylinder axes . Shown in FIG . 18 is aa NEST partiallydrive about
                                                                                    pulleys 1916a , 1916b , 1916c , 1916d at least
                                                                                     which is wrapped a drive belt 1918a , 1918b ,
device 1888 having two tensioner assemblies 1808a , 1808b . 1918c , 1918d each
Tensioner assembly 1808a comprises a tensioner block 15 around a tensioner ofdrive          which is also at least partially wrapped
1810a that couples to the side support 1822 by at least one 1914c ( not shown) 1914d pulley             1914a , 1914b ( not shown)
                                                                                                ( not shown) coupled to a tensioner
tensioner dowel pin 1832a . The tensioner block 1810a also arm 1912a , 1912b ( not shown) of a tensioner assembly. Each
couples to the side support 1820 by at least one tensioner tensioner assembly may include a tensioner block 1910a
dowel pin 1832b . The tensioner block 1810a floats freely (not shown) 1910b , and a tensioner spring 1930a ( not
along at least a portion of the dowel pins 1832a , 1832b . The 20 shown ), 1930c which cooperate with at least one of the side
tensioner block 1810a is attached to a tensioner arm 1812a supports 1922 , 1920 to pull the drive belts 1918a , 1918b ,
which has two tensioner drive pulleys 1814a , 1814d, which 1918c , 1918d taut. The magnets 1902a , 1902b , 1902c are
couple to drive belts 1818a , 1818b ( respectively ) which rotatably coupled to side supports 1922 , 1920 , and at least
themselves are coupled to magnets 1802a , 1802b (respec- one magnet 1902a in the embodiment shown is coupled to
tively) of the device 1888 through magnet drive pulleys 25 a drive shaft 1904 which rotates the magnet 1902a to which
1816a , 1816b . The tensioner block 1810a exerts a force on it is directly coupled, and through the cooperation of the
the belts 1818a , 1818b to keep the belts taut during use , magnet drive pulleys 1916a , 1916b , 1916c , 1916d, drive
since the tensioner block 1810a is also coupled to tensioner belts 1918a , 1918b , 1918c , 1918d , and tensioner drive
springs 1830a , 1830b which push the tensioner block 1810a pulleys 914a , 1914b ( not shown ) 1914c (not shown) 1914d
away from the side supports 1822 , 1820 , and thus, away 30 ( not shown ), also rotates the other magnets 1902b , 1902c of
from the magnet drive pulleys 1816a , 1816b coupled to the the NEST device such that all of the magnets 1902a , 1902b ,
side supports 1822 , 1820 by center pins (not shown ) that run 1902c rotate simultaneously.
through each of the drive pulleys 1816a , 1816b and the                FIG . 20 shows an example embodiment of a NEST device
magnets 1802a , 1802b . When the center pin is also attached having eight diametrically magnetized cylindrical magnets
to a motor, it may also rotate the magnet and its associated 35 2002a - 2002h , configured to rotate about their cylinder axes .
magnet drive pulley ( s ) , and it may be called a drive shaft. Each of the magnets 2002a - 2002h has at least one magnet
Nevertheless, the magnet drive pulleys 1816a , 1816b can drive pulley 2016a - 2016n coupled to it which rotates the
rotate, and with their rotational movement the magnet drive magnet 2002a - 2002h when the magnet drive pulley 2016a
pulleys 1816a , 1816b can rotate , or be rotated by, the 2016n is rotated by a belt 2018a - 2018h that is at least
magnets 1802a , 1802b.                                           40 partially wrapped around at least one of the magnet drive
   Likewise , tensioner assembly 1808b comprises a ten- pulleys 2016a - 2016n . In the embodiment shown, a drive
sioner block 1810b that couples to the side support 1822 by shaft 2004 has two drive belts 2018d, 2018e wrapped at least
at least one tensioner dowel pin 1832c . The tensioner block partially around the drive shaft 2004. The drive shaft 2004
1810b also couples to the side support 1820 by at least one thus rotates all of the magnets 2002a - 2002h simultaneously
tensioner dowel pin 1832c . The tensioner block 1810b floats 45 through a series of drive belts 2018a - 2018h and magnet
freely along at least a portion of the dowel pins 1832c , drive pulleys 2016a - 2016n all coupled to the drive shaft
1832d . The tensioner block 1810b is attached to a tensioner        2004 .
arm 1812b which has two tensioner drive pulleys 1814b ,                For example, the first drive belt 2018e is wrapped at least
1814c , which couple to drive belts 1818d, 1818C (not partially around the drive shaft 2004 , and is also wrapped at
shown ) ( respectively ) which themselves are coupled to 50 least partially around a first magnet drive pulley 2016h of a
magnets 1802b , 1802c ( respectively ) of the device 1888 first magnet 2002e . A second drive belt 2018f is wrapped at
through the magnet drive pulleys 1816c , 1816d . The ten- least partially around aa second magnet drive pulley 2016i of
sioner block 1810b exerts a force on the belts 1818d, 1818c the first magnet 2002e . The second drive belt 2018f is also
(not shown ) to keep the belts taut during use , since the wrapped at least partially around a third magnet drive pulley
tensioner block 1810b is also coupled to tensioner springs 55 2016j of the second magnet 2002f A third drive belt 2018g
1830c , 1830d which push the tensioner block 1810b away is wrapped at least partially around a fourth magnet drive
from the side supports 1822 , 1820 , and thus, away from the pulley 2016k of the second magnet 2002f. The third drive
magnet drive pulleys 18160 , 1816d coupled to the side belt 2018g is also wrapped at least partially around a fifth
supports 1822 , 1820 by center pins (not shown) that run magnet drive pulley 2016l of a third magnet 2002g . A fourth
through each of the drive pulleys 1816c , 1816d and the 60 drive belt 2018h is wrapped at least partially around aa sixth
magnets 1802b , 1802c . When the center pin is also attached magnet drive pulley 2016m of the third magnet 2002g . The
to a motor, it may also rotate the magnet ( s) and its associated fourth drive belt 2018h is also wrapped at least partially
magnet drive pulley ( s ) , and it may be called a drive shaft . around a seventh magnet drive pulley 2016n of a fourth
Nevertheless, the magnet drive pulleys 1816c , 1816d can magnet 2002h . As arranged, therefore, the motion of the first
rotate, and with their rotational movement the magnet drive 65 drive belt 2018e coupled to the drive shaft 2004 rotates the
pulleys 1816c , 1816d can rotate , or be rotated by, the first magnet 2002e , the second magnet 2002f, the third
magnets 1802b, 1802c.                                               magnet 2002g , and the fourth magnet 2002h simultaneously.
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   Similarly, the fifth drive belt 2018d is wrapped at least            create a similarly uniform field . An example of the disc
partially around the drive shaft 2004 , and is also wrapped at          magnet is shown in FIG . 22 , and an example of the rectan
least partially around an eighth magnet drive pulley 2016g              gular magnet similar to the disc magnet is shown in FIG . 23 .
of a fifth magnet 2002d . A sixth drive belt 2018c is wrapped              FIG . 22 shows an example embodiment of a NEST device
at least partially around aa ninth magnet drive pulley 2016fof 5 having          tworotation
                                                                                       disc magnets  2202a , 2202b that rotate about a
the fifth magnet 2002d . The sixth drive belt 2018c is also common                           axis 2236. The device comprises two disc
wrapped at least partially around aa tenth magnet drive pulley shaped            magnets 2202a , 2202b that are axially magnetized
                                                                        ( the poles are on the top and bottom faces ). The north pole
2016e of the sixth magnet 2002c . A seventh drive belt 2018
is wrapped at least partially around an eleventh magnet drive of            the first magnet 2202a aligns with the south pole of the
                                                                        second magnet 2202b ( aligning their neutral planes ). The
pulley  2016dis also
belt 2018b       of thewrapped
                         sixth magnet
                                at least 2002c . Thearound
                                         partially    seventh  drive 10 device further comprises a drive shaft 2204 that aligns with
                                                           a twelfth
                                                           a

magnet drive pulley 2016c of a seventh magnet 2002b . An the                  center of the disc magnets 2202a , 2202b and with ,
                                                                        therefore, the rotation axis 2236 of the magnets 2202a ,
eighth drive belt 2018a is wrapped at least partially around 2202b.
a thirteenth magnet drive pulley 2016b of the seventh                      FIG . 23 shows an exploded view of an alternate embodi
magnet 2002b . The eighth drive belt 2018a is also wrapped 15 ment of an example NEST device embodiment similar to
at least partially around a fourteenth magnet drive pulley that of FIG . 22 having two rectangular magnets 2302a ,
2016a of an eighth magnet 2002a . As arranged, therefore ,              2302b that rotate around a common rotation axis 2336. The
the motion of the fifth drive belt 2018d coupled to the drive device comprises two rectangular magnets 2302a , 2302b
shaft 2004 rotates the fifth magnet 2002d, the sixth magnet that are magnetized such that the north pole of the first
2002c , the seventh magnet 2002b , and the eighth magnet 20 magnet 2302a faces away from the drive shaft 2304 , and the
2002a simultaneously . In an alternative embodiment, the south pole of the first magnet 2302a faces the drive shaft
drive shaft has only one drive belt that drives all of the 2304 , and the north pole of the second magnet 2302b faces
rotation of all of the magnets . Also shown in FIG . 20 are the the drive shaft 2304 while the south pole of the second
                                                               magnet 2302b faces away from the drive shaft 2304. The
side supports 2022 , 2020 connected by at least two support
columns 2024a, 2024b . The supports 2020, 2022 hold each 25 poles   of each of the magnets 2302a , 2302b, thus , face the top
of the magnets 2002a - 2002h in place relative to the supports cover 2352 and the bottom cover 2350 of the device, but the
                                                                     magnets 2302a , 2302b , have opposite polarity. In the
2020 , 2022 while allowing rotational motion of the magnets          embodiment shown, the first magnet 2302a is held in place
2002a - 2002h and of the drive shaft 2004 which may me               in the device by a first magnet holder 2344a having two
driven , for non -limiting example , by a motor (not shown ). pieces that are connected by a magnet holder cap screw 2342
   FIG . 21 shows the magnet rotation of the example NEST 30
device embodiment of FIG . 20 having eight diametrically and        is
                                                                         a magnet holder dowel pin 2340. The first magnet 2302a
                                                                       placed  between and at least partially within the pieces of
magnetized cylindrical magnets 2102a - 2102h configured to the first holder
rotate about their cylinder axes . FIG . 21 shows a side view is held in place2344a
                                                    a
                                                                                             . Likewise, the second magnet 2302b
                                                                                        in the device by a second magnet holder
of an embodiment of a NEST device ( not showing, for 2344b having two pieces that are connected by a magnet
example , side supports ), which is similar to the embodiment 35 holder cap screw ( not shown) and a magnet holder dowel pin
shown in FIG . 20. In this embodiment, each of the magnets (not shown) . The second magnet 2302b is placed between
2102a - 2102h has at least two drive belts ( for example , drive and at least partially within the pieces of the second holder
belts 2118a - 2118h ) coupled to it which rotate the magnet 2344b . The two holders 2344a , 2344b are coupled together,
2102a - 2102h , or which are rotated by the magnet 2102a- and may have a center beam 2348 that holds the first and
2102h , when the drive shaft 2104 is rotated . In the embodi- 40 second holders 2344a , 2344b together. The holders 2344a ,
ment shown , two drive belts 2118d, 2118e are wrapped at 2344b may also be held together additionally or alternatively
least partially around the drive shaft 2104. The drive shaft by adhesive 2346. The drive shaft 2304 is coupled to the
2104 thus rotates all of the magnets 2102a - 2102h simulta- holders 2344a , 2344b , in the embodiment shown , by attach
neously through a series of drive belts 2118a - 2118h all ing to the center beam 2348 , which thus couples the magnets
coupled to the drive shaft 2104. Shown in this embodiment 45 2302a , 2302b to the drive shaft 2304 such that rotation of the
is an example of the direction of rotation of the magnets drive shaft 2304 likewise spins the magnets 2302a , 2302b
2102a - 2102h ( indicated by arrows) resulting from a clock- within the holders 2344a , 2344b about the rotation axis
wise rotation of the drive shaft 2104. An opposite direction 2336. The drive shaft 2304 may alternatively and / or addi
of movement is achieved when the drive shaft is rotated in tionally be coupled to the holders 2344a , 2344b and to the
a counter - clockwise direction . In the embodiment shown, 50 center beam 2348 by adhesive 2346. The magnets 2302a ,
the clockwise rotation of the drive shaft 2104 rotates all of 2302b encased in the holders 2344a , 2344b are additionally
the magnets 2102a - 2102h in aa clockwise direction due to the housed within a top cover 2352 and a bottom cover 2350 .
belt 2118a - 2118h arrangement shown . Each of the belts The covers 2350 , 2352 are connected to one another by at
2118a - 2118h shown is wrapped either around two magnets least one cover cap screw 2354. The drive shaft 2304 fits
or around a magnet and the drive shaft.                          55 through at a hole 2356 in at least one of the covers , for
                                                                    example , the bottom cover 2350. Where the cover 2350 is
                          Example 10                                disc - shaped , as shown in FIG . 23 , the hole 2356 is located
                                                                    the center of the disc cover 2350 , and the hole 2356 is
   In particular embodiments, a disc shaped magnet that is configured such that the drive shaft 2304 may rotate freely
axially magnetized (the poles are on the top and bottom 60 within the hole 2304 , for example, with aid of aa bearing
faces) can be cut in half, one half turned over ( aligning N of which allows drive shaft rotation (and , thus, magnet rota
one half with S of the other half) and placed together. This tion) relative to the covers 2350 , 2352 .
disc can be spun about the center of the disc to get a
magnetic field that is uniform over a large area . In aa similar                               Example 11
embodiment, two rectangular magnets having poles aligned 65
and positioned similarly to the disc as previously described           FIG . 24 shows an example embodiment of a NEST device
can be spun about the center of the rectangular magnets to similar to the embodiments depicted in FIGS . 22 and / or 23
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having two magnets 2402a , 2402b rotating about a common               Example 12 : Effect of aa Device Lowering Blood
rotation axis applied to a subject 2406 and showing the                                      Pressure
controller subunit 2458 coupled to a drive shaft 2404 that
rotates the magnets 2402a , 2402b . The controller subunit           An effect of use of a modified rTMS device according to
2458 may contain a motor (not shown) that cooperates with 5 the methods and device descriptions provided herein was
the drive shaft 2404 to rotate the magnets 2402a , 2402b .  shown to reduce the symptoms of fibromyalgia. The patient
   FIG . 25 shows block diagram of an example embodiment complained of chronic widespread pain and tenderness to
of a NEST device showing example elements of the NEST light touch , and was diagnosed with fibromyalgia . The
device and of its controller subunit. For example the NEST device was used to tune an intrinsic frequency (of the
embodiment shown depicts a magnet 2502 that is mounted 10 patient's alpha wave ) . Following treatment, the patient
by a frame 2534 to a base 2536. This allows the magnet 2502 reported a reduction of the symptoms of fibromyalgia .
to be held stationary as the device treats a subject whose
head may be positioned near to the magnet 2502 (within the                            Example 13
magnetic field produced by the magnet 2502 ) . The magnet
2502 is coupled to the controller subunit 2558 by a drive 15 FIG . 26 shows an example embodiment of a NEST device
shaft 2504. The drive shaft 2504 may couple to a motor 2572 having a single bar magnet 2602 that moves linearly along
of the controller subunit 2558 by a coupling 2578. The its north - south axis 2639 once each time the supporting ring
coupling may allow for various magnet arrangements to be (or annulus) 2619 is rotated (rotation shown by arrows in
interchanged by merely decoupling the drive shaft from the FIG . 26 ) , providing a pulse - type alternating magnetic field at
controller subunit and coupling a device having another 20 the frequency of rotation . In this embodiment, a magnet
arrangement of magnets ( such as , for example, those 2602 is secured against a rotating ring ( or annulus) 2619
described herein ). The magnet 2502 may be controlled by with a spring 2628 , where the ring 2619 has one or more
                                                                                         2

the controller subunit 2558 through the motor 2572 that may detents 2629. The subject 2606 is shown below the ring 2619
be driven by a motor driver 2574. The motor driver 2574 in FIG . 26. When the ring 2619 is rotated , as shown with the
may be coupled (directly or indirectly) to a power supply 25 arrows in FIG . 26 , the magnet 2602 will be thrust into each
                                                                                     2

2576. The motor driver 2574 , which can control, for non- detent 2629 once per rotation . As the ring 2619 continues to
limiting example , the speed , direction , acceleration, etc, of rotate, the magnet 2602 will move back to its original
the magnet 2502 through the drive shaft 2504 , can be position . This periodic thrust may generate a more unipolar
directed and / or monitored by controls such as , for example, pulsatile magnetic field than that generated by a rotating
a device speed control 2560 , an on / off control 2562 , a 30 magnet. The width and amplitude of the magnetic pulse
                               2

display 2564 , a random / continuous control 2566 , and a depends on the mass and strength of the magnet, as well as
high / low control 2568. A user can adjust each of these the strength of the spring , and the depth of the detent.
          which are coupled to a processor circuit board 2570       In alternative embodiments to that shown in FIG . 6 ,
and thus coupled to the motor driver 2574 .                      there could be multiple detents in the ring . The ring could be
  Alternatively, and/or additionally, the drive shaft 2504 35 non -circular. The magnet could rotate around the ring, while
and / or the magnet ( s) may be controlled automatically based the ring is stationary. There could be multiple magnets and
on a prescribed treatment ( time of treatment, frequency of a single detent. There could be multiple magnets and mul
magnet rotation, etc) that is downloaded and / or programmed tiple detents . Instead of a detent, the magnet or magnets
into the processor circuit board 2570 from a source external could encounter a ridge, or multiple ridges . The magnet or
or internal to the controller subunit, as previously described 40 magnets could encounter slopes , rather than sharp detents or
herein . Treatments received may be stored by the controller ridges. The magnet could be positioned such that the north
subunit. Additionally and / or alternatively , where EEG elec- pole is closer to the treatment area than the south pole , or
trodes are also present in the device and are capable of such that the south pole is closer to the treatment area than
measuring the subject's brain waves , the device may adjust the north pole ( such as is shown in FIG . 26 ) . In some
the treatment automatically by a biofeedback system . Addi- 45 embodiments , the number of detents is the same as the
tionally and / or alternatively, where EEG electrodes are number of magnets of the device . In some embodiments , the
present in the device and are capable of measuring the number of detents is not the same as the number of magnets
subject's brain waves , the treatment may be chosen based on of the device . In some embodiments, the number of detents
the readings of the subject's brain waves prior to the is a multiple of the number of magnets of the device. In some
treatment. Additionally and / or alternatively, where EEG 50 embodiments , the number of detents is not a multiple of the
electrodes are present in the device and are capable of number of magnets of the device .
measuring the subject's brain waves , the treatment may be          In an alternative embodiments of the device, the magnet
chosen automatically by the device based on the readings of may flip (or rotate ) about an axis between the north pole and
the subject's brain waves prior to the treatment and based on south pole as a ring similar to that shown in FIG . 26 rotates .
a set of rules stored in the controller subunit . Additionally 55 The magnet may be freely rotatable about the axis between
and / or alternatively, where EEG electrodes are present in the the north pole and south pole , and the magnet may be
device and are capable of measuring the subject's brain rotatable about aa shaft. The shaft, in this embodiment, is not
waves , the controller subunit is capable of storing the output coupled to a drive source . Rather, the ring itself may drive
of the EEG electrodes prior to , during, and / or after treatment the flipping ( rotating) of the magnet by capturing a first
with the NEST device. Additionally and /or alternatively, 60 portion of the magnet in a first detent and moving that first
where EEG electrodes are present in the device and are portion as the ring moves until a second portion of the
capable of measuring the subject's brain waves , the control- magnet is captured by second detent of the ring which
ler subunit is capable of transmitting the output of the EEG likewise moves the second portion of the magnet. In some
electrodes prior to , during, and / or after treatment with the embodiments , the first portion is associated with a first pole
NEST device . This transmitting may be real- time (during 65 of the magnet, and the second portion is associated with a
measurement), or after storage of the EEG electrode outputs       second pole of the magnet. In one embodiment, the first pole
and during an upload or download from the NEST device .           may be the north pole of the magnet and the second pole may
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be the south pole of the magnet. In another embodiment, the           score for subjects treated with the NEST device, the bottom
first pole may be the south pole of the magnet and the second         line represents the average HAMD score for subjects treated
pole may be the north pole of the magnet. A drive source              with the SHAM device .
may drive the movement of the ring which, in turn , drives                                   Example 15
the rotation of the magnet. The drive source may be motor, 5
for non- limiting example.
                                                                        FIG . 33 shows the results of aa clinical trial utilizing the
                         Example 14                                   NEST device for the treatment of anxiety. This trial involved
                                                                      two ( 2 ) patients ( subjects ). Both patients received treatment
   FIGS . 31 and 32 show the results of a clinical trial 10 with the NEST     device as shown in FIG . 19 , with permanent
utilizing the NEST device and methods for the treatment of magnets     arranged as shown in FIG . 16. In the method used
                                                            for these patients, a magnetic field was adjusted to influence
depression as provided herein . A device was used such as the   Q - factor of an intrinsic frequency of each subject within
shown in FIG . 19 , with permanent magnets arranged as
shown in FIG . 16. In the method used in this trial, a magnetic 15 the alpha -band. The magnetic field was applied close to the
field was adjusted to influence the Q - factor of an intrinsic ment of
                                                                   head    the subject. EEG readings were taken before treat
                                                                         began  . A Cadwell Easy 2.1 EEG system was used to
frequency of each subject within the alpha -band. The mag take a 19 - lead
netic field was applied close to the head of the subject. EEG alpha band (7-11EEG        reading. The intrinsic frequency in the
readings were taken before treatment began . A Cadwell Easy reading. Both patientswaswere
                                                                                      Hz )     determined using the initial EEG
                                                                                                   treated with a constant fre
2.1 EEG system was used to take a 19 - lead EEG reading. 20 quency, wherein for each patient the NEST was set to rotate
The intrinsic frequency in the alpha band ( 7-11 Hz ) was the magnets at the intrinsic frequency detected for that
determined using the initial EEG reading . Patients were patient. Patients received treatment every weekday for 30
placed in one of three groups: constant frequency, random days. EEG readings were taken after treatment at least on a
frequency, or sham , with equal probability for each group . weekly basis . The first data point is the baseline HAMA
Patients received treatment every weekday for 30 days. EEG 25 score . The second data point for each line represents the
readings were taken after treatment at least on a weekly HAMA score after one ( 1 ) week of treatment for each
basis . If the patient was in the “ constant frequency ” group , patient. The third data point for each line represents the
the NEST was set to rotate the magnets at the intrinsic HAMA score after two ( 2 ) weeks of treatment for each
frequency. If the patient was in the " random frequency ” patient. The fourth data point for each line represents the
group , the NEST was set to rotate the magnets at random 30 patient
                                                                 HAMA. score after four (4 ) weeks of treatment for each
frequencies between 6 Hz and 12 Hz , changing frequencies          The various functions or processes disclosed herein ( such
once per second . If the patient was in the “ SHAM ” group ,
the magnets in the NEST were replaced with steel cylinders, as , for non - limiting example, logic that performs a function
                                                                   or process) may be described as data and /or instructions
thereby imparting  no magnetic field to a head of the patient
The patients in this group were divided into two subgroups
                                                              . 35 embodied in various computer -readable media, in terms of
with equal probability, with one group having the cylinders           their behavioral, register transfer, logic component, transis
rotated at the intrinsic frequency and the other group having         tor, layout geometries, and / or other characteristics . The logic
                                                                      described herein may comprise, according to various
the cylinders rotated at random frequencies as noted above . embodiments                 of the invention , software , hardware , or a
For this clinical trial sixteen ( 16 ) subjects received treatment 40 combination of software and hardware. The logic described
with the NEST device . Eleven ( 11 ) subjects responded to herein may comprise computer - readable media, Computer
treatment ( i.e. the Responders) and five ( 5 ) subjects did not readable media in which such formatted data and / or instruc
respond to treatment ( i.e. Non -Responders ). Eleven ( 11 ) tions may be embodied include, but are not limited to ,
patients received treatment with the SHAM device.                     non - volatile storage media in various forms ( e.g. , optical ,
     FIG . 31 shows the percentage change in HAMD score in 45 magnetic or semiconductor storage media ) and carrier waves
subjects being treated with the NEST device over the course that may be used to transfer such formatted data and /or
of four ( 4 ) weeks. It is divided between subjects who instructions through wireless , optical , or wired signaling
responded to treatment (i.e. Responders ) and subjects who media or any combination thereof. Examples of transfers of
did not respond to treatment ( i.e. Non -Responders ). such formatted data and /or instructions by carrier waves
Responders were classified as such when their HAMD 50 include , but are not limited to , transfers ( uploads, down
scores decreased by 50 % at least over the course of the four loads , e - mail , etc.) over the Internet and / or other computer
( 4 ) weeks of treatment. The first bar is the average baseline networks           via one or more data transfer protocols ( e.g. ,
HAMD score . Each subsequent bar represents the average HTTP                 , FTP, SMTP , etc. ) . When received within a computer
HAMD score at the end of a week , weeks 1 , 2 , 3 , and 4 , left 55 system      via one or more computer - readable media , such data
                                                                      and / or instruction -based expressions of components and / or
to right, respectively .
     FIG . 32 shows the percentage change in HAMD score in processes  entity  (
                                                                                   under the ICS may be processed by a processing
                                                                                e.g. , one or more processors ) within the computer
subjects being treated with the NEST device versus the system in conjunction
SHAM device over the course of four (4 ) weeks , as computer programs. with execution of one or more other
described in reference to FIG . 31 above . Baseline is not 60 Unless the context clearly requires otherwise, throughout
represented on the graph it should be assumed to be 0.00 . the description and the claims , the words " comprise," " com        ??

The first data point represents the average change after one prising," and the like are to be construed in an inclusive
( 1 ) week of treatment. The second data point is the average sense as opposed to an exclusive or exhaustive sense; that is
change after two ( 2 ) weeks of treatment. The third data point to say, in a sense of “ including, but not limited to . ” Words
is the average change after three (3 ) weeks of treatment. The 65 using the singular or plural number also include the plural or
fourth data point is the average change after four (4 ) weeks singular number respectively . Additionally, the words
of treatment. The top line represents the average HAMD " herein , " " hereunder, ” “ above,” “ below , " and words of
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similar import refer to this application as a whole and not to      the scope of the invention and that methods and structures
any particular portions of this application. When the word          within the scope of these claims and their equivalents be
“ or” is used in reference to aa list of two or more items , that covered
                                                                       What
                                                                                 thereby.
                                                                                 is claimed is :
word covers all of the following interpretations of the word : 5 1. A method            of treating anxiety in a subject, comprising:
any of the items in the list , all of the items in the list and any    ( a) adjusting output of a magnetic field for influencing a
combination of the items in the list .
   The above descriptions of illustrated embodiments of the                 Q - factor of an intrinsic frequency within a specified
                                                                            EEG band acquired from the subject toward a pre
system , methods, or devices are not intended to be exhaus                  selected Q - factor, and
tive or to be limited to the precise form disclosed . While 10 (b ) applying said magnetic field close to a head of the
specific embodiments of, and examples for, the system ,                     subject; and
methods, or devices are described herein for illustrative              ( c ) influencing with the applied said magnetic field the
purposes, various equivalent modifications are possible                     Q - factor of the intrinsic frequency within the specified
within the scope of the system , methods, or devices, as those            EEG  band of the subject toward the pre - selected Q -fac
skilled in the relevant art will recognize . The teachings of the 15 2. tor .
system , methods, or devices provided herein can be applied EEG The       data
                                                                              method of claim 1 , further comprising: measuring
                                                                               of the subject after applying said magnetic field.
to other processing systems , methods, or devices, not only            3. The method of claim 2 , further comprising: adjusting
for the systems, methods, or devices described .                    the output of said magnetic field based on the measured EEG
  The elements and acts of the various embodiments                    data of the subject ; and repeating applying said magnetic
described can be combined to provide further embodiments. 20 field close to the head of the subject with the adjusted output
These and other changes can be made to the system in light of said magnetic field .
of the above detailed description.                                   4. The method of claim 1 , wherein the applying of the
   In general, in the following claims , the terms used should magnetic field applies the magnetic field to a diffuse area in
not be construed to limit the system , methods, or devices to a brain      of the subject.
the specific embodiments disclosed in the specification and 25 generated method
                                                                     5. The
                                                                              by
                                                                                       of claim 1 , wherein the magnetic field is
                                                                                  movement     of at least one permanent magnet.
the claims , but should be construed to include all processing
systems that operate under the claims . Accordingly, the one permanent magnet is 5from
                                                                     6. The  method   of claim    , wherein a strength of the at least
                                                                                                        about 10 Gauss to about 4
system , methods, and devices are not limited by the disclo Tesla .
sure, but instead the scopes of the system , methods, or 30 7. The method of claim 5 , wherein the at least one
devices are to be determined entirely by the claims .
   While certain aspects of the system , methods, or devices permanentbetween  magnet is at a distance from the subject and the
are presented below in certain claim forms, the inventors distance                     the at least one permanent magnet and the
contemplate the various aspects of the system , methods, or subject        is from about 1.32 in to about 12 in .
                                                                     8. The method of claim 1 , wherein the magnetic field is
devices in any number of claim forms. For example, while
only one aspect of the system , methods, or devices is recited 35 applied  for about 5 minutes to about two hours .
as embodied in machine - readable medium , other aspects the step ofmethod
                                                                     9. The             of claim 1 , further comprising repeating
may likewise be embodied in machine - readable medium . the subject after an the
                                                                               applying        magnetic field close to the head of
                                                                                          interval   of about 6 hours to about 14
Accordingly, the inventors reserve the right to add additional days .
claims after filing the application to pursue such additional 40 10. The method of claim 1 , further comprising: (a ) locat
claim forms for other aspects of the system , methods, or
devices.                                                          ing a first electrode operable to detect electrical brain
   While preferred embodiments of the present invention activity  electrical
                                                                            on the subject in at least one of an area of low
                                                                              resistivity on the subject, and an area with sub
have been shown and described herein, it will be obvious to           stantially no electrical impulse interference on the subject;
bythosewayskilled in the art that such embodiments are provided
            of example   only. Numerous variations, changes , and 45 (signal
                                                                       b) locating a second
                                                                              on the   subjectelectrode
                                                                                               ; and (coperable to detectthea reference
                                                                                                        ) determining          intrinsic
substitutions will now occur to those skilled in the art
without departing from the invention . It should be under             frequency from the electrical brain activity detected by the
stood that various alternatives to the embodiments of the             first electrode and the reference signal detected by the
invention described herein may be employed in practicing              second electrode.
the invention . It is intended that the following claims define
